     Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 1 of 115 PageID #: 1




                               UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION


     DIGITALDOORS, INC.,

                 Plaintiff                                  Case No. 2:23-cv-_________
                                                                             541


                 v.                                         JURY TRIAL DEMANDED


     COMERICA BANK,

                 Defendant


                      ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

        DigitalDoors, Inc. (“Plaintiff”) hereby files this Original Complaint for Patent Infringement

against Defendant Comerica Bank (“COM” or “Defendant”), and alleges, upon information and belief, as

follows:

                                             THE PARTIES

1.      DigitalDoors, Inc. is a corporation organized and existing under the laws of the State of Florida

        with its principal place of business at 4201 Collins Avenue, Suite 2103, Miami Beach, Florida

        33140.

2.      DigitalDoors was established in 2001 to develop data security solutions for survivability and

        continuity of operations of the U.S. Government, including military and intelligence agencies. It

        evolved specifically towards the Pentagon’s “Global Grid” communications infrastructure, and at

        the time, received enthusiastic reactions from leaders of the nation’s national security apparatus.

3.      One aspect of DigitalDoors’ data continuity innovation concerns information infrastructure

        architectures wherein specific data is tagged and distributed for disaster recovery. Such innovation




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                    1
     Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 2 of 115 PageID #: 2




        was first described by way of various embodiments in Provisional Applications filed in the United

        States in 2006 and 2007.

4.      Upon information and belief, Defendant is a Texas State financial Institution organized and

        existing under the laws of the State of Texas, with a principal place of business located at Comerica

        Bank. 1717 Main Street, Dallas, Texas 75201. Defendant may be served through its registered

        agent in the State of Texas at Corporate Creations Network, Inc., 5444 Westheimer, Suite 1000,

        Houston, Texas 77056. On information and belief, in its extensive role as a consumer and business

        financial institution (whether Commercial Bank, Thrift, or Credit Union), COM makes, uses, sells,

        offers to sell, and otherwise provides financial account and/or depository services (including but

        not limited to credit cards, debit cards, checking accounts, savings accounts, and personal and

        business loans) to consumers throughout the State of Texas, including in this judicial District, and

        introduces such services into the stream of commerce knowing and intending that they would be

        extensively used in the State of Texas and in this judicial District. Moreover, as an integral

        component of its services, COM is believed to maintain industry standard data backup and disaster

        recovery systems for the benefit of its customers, including but not limited to Sheltered Harbor

        Certified systems (see, e.g., https://shelteredharbor.org/) or the functional equivalent thereof. On

        information and belief, COM specifically targets customers in the State of Texas and in this judicial

        District.

5.      On information and belief, Defendant is a domestically chartered insured “Large Commercial

        Bank,” as classified and reported by the Board of Governors of the Federal Reserve System of the

        United States. See www.federalreserve.gov/releases/. As reported by the Board of Governors in

        its June 30, 2023 release (see www.federalreserve.gov/releases/lbr/current/) (hereafter as “Federal

        Reserve Report”), Defendant is one of the largest financial institutions in the United States, with




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                 2
     Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 3 of 115 PageID #: 3




        domestic assets of approximately $90 Billion, and operates 401 domestic branches.                On

        information and belief, such data was obtained by the Federal Reserve from the Consolidated

        Reports of Condition and Income filed quarterly by the Defendant (FFIEC 031, 041, and 051) and

        from other information in the Board’s National Information Center database.

6.      On information and belief, Defendant endeavors to provide robust state of the art data security

        protection to customer financial information, including but not limited to implementing such

        policies and procedures regarding such protections as dictated by its Board of Directors.

        According to the Securities and Exchange Commission, it is the responsibility of the Board of

        Directors to oversee cybersecurity safeguards and ensure the privacy and continuity of client data.

        See, e.g., Securities and Exchange Commission (“SEC”) Compliance Guide entitled:

        Cybersecurity Risk Management, Strategy, Governance, and incident Disclosure, as modified

        September 5, 2023, available at: sec.gov/ corpfin/secg-cybersecurity (as visited October 20, 2023)

        (hereafter as “SEC Article”) (discussing SEC Rules relating to cybersecurity, noting that the Rules

        require, inter alia, the annual disclosure of cybersecurity risk management, strategy, and

        governance, and specifically instructing: “With respect to governance, Item 106 and Item 16K

        require registrants to describe the board of directors’ oversight of risks from cybersecurity threats

        (including identifying any board committee or subcommittee responsible for such oversight) and

        management’s role in assessing and managing material risks from cybersecurity threats”). Indeed,

        SEC Regulation S-K Item 106 (17 CFR § 229.106) expressly requires the following from all

        registrants in their filings: “Describe the board of directors' oversight of risks from cybersecurity

        threats. If applicable, identify any board committee or subcommittee responsible for the oversight

        of risks from cybersecurity threats and describe the processes by which the board or such

        committee is informed about such risks.” Moreover, Boards of Directors for financial institutions




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                 3
     Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 4 of 115 PageID #: 4




        are responsible for safeguarding the customer data managed by the institution, including

        specifically all account data. See, e.g., FDIC White Paper entitled: Statement Concerning the

        Responsibilities of Bank Directors and Officers, available at: fdic.gov/regulations/laws/

        rules/responsibilities-bank-directors-officers.pdf (as visited October 20, 2023) (hereafter as “FDIC

        White Paper”) (Stating: “Directors and officers of banks have obligations to discharge duties owed

        to their institution and to the shareholders and creditors of their institutions, and to comply with

        federal and state statutes, rules and regulations. Similar to the responsibilities owed by directors

        and officers of all business corporations, these duties include the duties of loyalty and care”); see

        also BankDirector.com Article dated April 14, 2023, entitled: Why the Duty of Cybersecurity is

        the Next Evolution for Fiduciary Duties, available at: bankdirector.com/committees/governance/

        (as visited October 20, 2023) (hereafter as “BankDirector Article”) (explaining: “when the duty of

        oversight meets with the immense cybersecurity responsibilities of financial institutions, a duty of

        cybersecurity is added to the fiduciary responsibilities of directors and officers,” and

        “Cybersecurity is paramount among the myriad of compliance issues that all corporate officers

        and directors must address”); see also Ernst & Young Article dated June 5, 2023, entitled: The

        CRO Cyber Risk Agenda: What Boards Should Be Asking, available at: ey.com/en_us/board-

        matters/cyber-risk-questions-for-boards (as visited October 20, 20230 (hereafter as “Ernst &

        Young Article”) (explaining how and why cybersecurity is the top priority for banks and their

        Boards of Directors). On information and belief, the Board of Directors for the Defendant is fully

        apprised of Defendant’s cybersecurity defense measures, and has fulfilled its duties to its

        customers by implementing Sheltered Harbor compliant systems and methods.

7.      Further on information and belief, Defendant (together with and through its Board of Directors),

        acts responsibly with respect to cybersecurity. As an integral part of such responsible oversight




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                 4
     Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 5 of 115 PageID #: 5




        of customer financial data, and pursuant to its fiduciary duties, Defendant (together with and

        through its Board of Directors) has implemented Sheltered Harbor compliant systems (or the

        operational equivalent) to both its production and backup facilities. See, e.g., FFIEC Information

        Technology Examination Handbook, available at: ithandbook.ffiec.gov/media/2nifgh2b/ffiec_

        itbooklet_businesscontinuitymanagement_v3.pdf (as visited October 20, 2023) (hereafter as

        “FFIEC Handbook”), at 19 and 21.

8.      Recognized reports indicate that cyberattacks on enterprises are extremely costly. By way of

        example, IBM Security estimated that the average cost of a “mega-breach” of more than 50 million

        records in 2020 was $392 Million, and rising annually. See IBM Security Report entitled: Cost of

        a Data Breach Report 2020, available at: ibm.com/security/digital-assets/cost-data-breach-report/

        1Cost%20of%20a%20Data%20Breach%20Report%202020.pdf (as visited October 20, 2023)

        (hereafter as “IBM Report”), at 66-67 (further reporting a cost of $50 Million for a small “mega-

        breach” of only 1 million records); see also Dell PowerProtect Cyber Recovery Solution Guide,

        available at: delltechnologies.com/asset/en-us/products/data-protection/technical-support/h17670

        -cyber-recovery-sg.pdf (as visited October 20, 2023) (hereafter as “Solution Guide”) at 5 (citing

        report authored by Accenture) (the average cost to an enterprise resulting from a cyberattack is

        $13 Million). Still further, the 2019 breach of Capital One reportedly resulted in a loss of over

        $270 Million, in addition to incalculable damage to its goodwill and reputation. See, e.g.,

        TechTarget Article entitled: Paige Thompson Found Guilty in 2019 Capital One Data Breach,

        available at: techtarget.com/searchsecurity/news/252521775/ (as visited October 20, 2023)

        (hereafter as “Capital One Article”). As such, financial institutions necessarily devote substantial

        resources to cyber protections. See, e.g., New York Times Article entitled: Hacking Wall Street,

        available at: nytimes.com/2021/07/03/business/dealbook/hacking-wall-street.html (as visited




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                5
     Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 6 of 115 PageID #: 6




        October 20, 2023) (hereafter as “New York Times Article”) (reporting that “[t]he federal

        government and financial institutions have formed information-sharing groups, performed tabletop

        exercises and invested heavily in cybersecurity. JPMorgan Chase alone spends about $600 million

        each year on cybersecurity efforts and has ‘more than 3,000 employees’ working on the issue in

        some way”).

                                      JURISDICTION AND VENUE

9.      This Court has subject matter jurisdiction over this case under 28 U.S.C. §§ 1331 and 1338.

10.     This Court has personal jurisdiction over Defendant. Defendant has continuous and systematic

        business contacts with the State of Texas. Defendant directly conducts business extensively

        throughout the State of Texas, by distributing, making, using, offering for sale, selling, and

        advertising (including the provision of interactive web pages; the provision and support of payment

        cards; the provision and support of checking accounts; the provision and support of secured and

        unsecured loans; and further including maintaining physical facilities) its services in the State of

        Texas and in this District. Defendant has purposefully and voluntarily made its business services,

        including the infringing systems and services, available to residents of this District and into the

        stream of commerce with the intention and expectation that they will be purchased and/or used by

        consumers in this District. On information and belief, COM is a provider of: (i) payment cards

        and card services; (ii) checking and savings account services; and (iii) secured and unsecured

        loans, throughout the United States. Moreover, as an integral component of its aforementioned

        services, COM is believed to maintain industry standard data backup and disaster recovery

        systems, including but not limited to Sheltered Harbor Certified systems, within the United States

        for the benefit of its customers, as well as for regulatory compliance and reputational benefit.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                 6
  Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 7 of 115 PageID #: 7




11.   On information and belief, Defendant maintains physical brick-and-mortar business locations in

      the State of Texas and within this District, retains employees specifically in this District for the

      purpose of servicing customers in this District, and generates substantial revenues from its business

      activities in this District.




      See https://locations.comerica.com/?q=plano.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               7
  Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 8 of 115 PageID #: 8




      See google.com/maps/.

12.   On information and belief, COM has a substantial presence in the State of Texas and within this

      District, as exemplified by the LinkedIn Profile Page for COM, which indicates there are at least

      55 employees of COM residing in Texas.




      See COM LinkedIn          Profile   Page,   at   linkedin.com/company/comerica-bank/people/?
      keywords=Texas


ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                           8
  Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 9 of 115 PageID #: 9




13.   On information and belief, COM provides a plurality of financial services, including but not

      limited to providing and supporting payment cards (including but not limited to credit cards, debit

      cards, and/or prepaid cards) to businesses and individuals located in the State of Texas and within

      this District.

14.   Further on information and belief, COM provides a plurality of financial services, including but

      not limited to providing and supporting personal and/or business checking and savings accounts,

      to businesses and individuals located in the State of Texas and within this District.

15.   Further on information and belief, COM provides a plurality of financial services, including but

      not limited to providing and supporting secured and/or unsecured loans (including but not limited

      to mortgage loans, vehicle loans, personal loans, and/or business loans) to businesses and/or

      individuals located in the State of Texas and within this District.

16.   Further on information and belief, COM maintains control over certain data backup and disaster

      recovery systems (including, for example, Sheltered Harbor Certified systems) within the United

      States for the benefit of its customers, as well as for regulatory compliance and reputational benefit.

17.   Venue is proper in the Eastern District of Texas as to Defendant pursuant to at least 28 U.S.C. §§

      1391(c)(2) and 1400(b). As noted above, Defendant maintains a regular and established business

      presence in this District, and specifically targets customers located within this District.

                                         PATENTS-IN-SUIT

18.   Plaintiff is the sole and exclusive owner, by assignment, of the following United States Patents: (i)

      9,015,301 (“the ‘301 Patent”); (ii) 9,734,169 (“the ‘169 Patent”); (iii) 10,182,073 (“the ‘073

      Patent”); and (iv) 10,250,639 (“the ‘639 Patent”) (hereinafter collectively as “the DigitalDoors

      Patents”).




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                 9
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 10 of 115 PageID #: 10




19.   By operation of law, the DigitalDoors Patents were originally issued and exclusively vested to the

      named inventors, Ron M. Redlich and Martin A. Nemzow, as of their respective dates of issuance.

      See 35 U.S.C. § 261; Schwendimann v. Arkwright Advanced Coating, Inc., 959 F.3d 1065, 1072

      (Fed. Cir. 2020); Suppes v. Katti, 710 Fed. Appx. 883, 887 (Fed. Cir. 2017); Taylor v. Taylor Made

      Plastics, Inc., 565 Fed. Appx. 888, 889 (Fed. Cir. 2014). Each of Messrs. Redlich and Nemzow,

      by way of written instruments, assigned all rights, title, and interest in the DigitalDoors Patents to

      DigitalDoors, Inc. See Assignment dated May 5, 2007, as filed with the United States Patent and

      Trademark Office on June 7, 2007 at Reel 019396 and Frames 0728-0732 (‘301 Patent); see also

      Assignment dated May 27, 2009, as filed with the United States Patent and Trademark Office on

      May 23, 2013 at Reel 030473 and Frames 0686-0690 (‘169 Patent); see also Assignment dated

      May 5, 2007, as filed with the United States Patent and Trademark Office on June 1, 2021 at Reel

      056402 and Frames 0740-0744 (‘073 Patent, and ‘639 Patent). As such, Plaintiff DigitalDoors has

      sole and exclusive standing to assert the DigitalDoors Patents and to bring these causes of action

      for infringement and damages.

20.   The DigitalDoors Patents are each valid, enforceable, and were each duly issued in full compliance

      with Title 35 of the United States Code.

21.   The inventions described and claimed in the DigitalDoors Patents were invented jointly and

      exclusively by Ron M. Redlich and Martin A. Nemzow.

22.   Joint inventor Ron M. Redlich is a combat veteran of the Israeli military who, in 1974, graduated

      both Combat Officers School and Air Force Technical Missile Officers School. Thereafter, Mr.

      Redlich commanded an Air Force Hawk Anti-Aircraft Missile Battery based in Sinai during the

      Yom Kippur War. In one instance, the Missile Battery operated by Mr. Redlich was completely

      incapacitated for three weeks by Russian Electronic Warfare Weaponry Systems as deployed by




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               10
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 11 of 115 PageID #: 11




      the Egyptian military. The electronic attack allowed the Egyptian military to assume full control

      of the various radar capabilities of the Missile Battery, thus preventing the Battery from launching

      its protective missiles. As a result, Egyptian bombers were able to attack without resistance, thus

      inflicting significant damage and many casualties against the Israeli military.

23.   Following his military service, Mr. Redlich attended law school at Bar Ilan University in Israel,

      earning an LLB degree in 1979. Since the tragic events of the Yom Kippur War, Mr. Redlich

      became determined to develop technological solutions for survivability capabilities against

      systemic failures. Eventually, the efforts of Mr. Redlich came to fruition in the form of the

      inventions as described and claimed in the DigitalDoors Patents.

24.   The DigitalDoors Patents includes numerous claims defining distinct inventions, and no single

      claim is representative (for purposes of infringement or validity) of the others. By way of example,

      Claim 25 of the ’301 Patent recites such steps as “associating at least one data process from a group

      of data processes,” “applying the associated data process to a further data input,” and multiple

      options for “activation” of such filters. In contrast, none of Claim 1 of the ’169 Patent, Claim 1 of

      the ’073 Patent, or Claim 16 of the ’639 Patent include such limitations, Further, Claim 1 of the

      ’169 Patent recites the “parsing” and “storing” of “remainder data,” whereas Claim 25 of the ’301

      Patent does not, nor does Claim 1 of the ’073 Patent. Still further, Claim 1 of the ’073 Patent

      recites “altering” and “modifying” initially-configured filters, whereas none of Claim 25 of the

      ’301 Patent, Claim 1 of the ’169 Patent, or Claim 16 of the ’639 Patent include such limitations.

      Yet still further, Claim 16 of the ’639 Patent recites “inferencing” of content data, whereas none

      of Claim 25 of the ’301 Patent, Claim 1 of the ’169 Patent, or Claim 1 of the ’073 Patent include

      such limitations. These important distinctions are merely representative, as even a cursory review




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              11
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 12 of 115 PageID #: 12




      of the claims of the DigitalDoors Patents reveals numerous patentably distinct elements which

      preclude any single claims from being viewed as representative.

25.   The priority date of the DigitalDoors Patents is at least as early as January 5, 2007. As of the

      priority date, and for at least the reasons set forth herein, the inventions as claimed in the

      DigitalDoors Patents were novel, non-obvious, unconventional, and non-routine.

26.   The DigitalDoors Patents each relate generally to unconventional methods and systems for

      organizing and processing data in a distributed system and, more particularly, those which extract

      specific sensitive content for specialized storage and subsequent reconstruction. See, e.g., ‘301

      Patent at Abstract and at 3:17-4:35.

27.   As noted, the claims of the DigitalDoors Patents have priority to at least January 5, 2007 (the “Date

      of Invention”). At that time, the practice of extracting specific content from structured and

      unstructured data for dedicated disaster recovery to achieve the advantages of the inventions

      claimed in the DigitalDoors Patents was still many years away. For example, as of the Date of

      Invention, the conventional approach focused on information recorded in structured data formats

      with little to no capacity to manage unstructured content. See, e.g., ‘301 Patent at 1:31-38. Further,

      and as of the Date of Invention, it was necessary to classify sensitive data, but such was inefficient

      and inadequate because it did not employ semantic or taxonomic analyses. See id. at 1:39-55.

      Beyond these issues, the state of the art as of the Date of Invention was for enterprises to operate

      open ecosystems which permitted employees, partners, customers, vendors, and others to

      participate in the production of information and the consumption of information. See id. at 1:60-

      2:3. Such open ecosystems were vulnerable because of the number of access points, thus

      necessitating robust information rights management functionality. See id. at 2:3-27. Still further,

      as of the Date of Invention, enterprises were largely unable to effectively address the changing




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               12
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 13 of 115 PageID #: 13




      sensitivity value of information over the lifecycle of the information file. See id. at 2:28-61. In

      view of the foregoing, there was no convention approach to information management which

      automatically categorized information in unstructured information files and labeled such

      information in a way to enable the implementation of policies intended to ensure the proper

      handling, distribution, retainment, deletion, and management of the information. See id. The

      inventions as described and claimed in the DigitalDoors Patents unconventionally shifted the

      management approach from data files to the content itself, thus achieving substantial advantages

      in enterprise information infrastructure management. See, e.g., id. at 9:46-58. As such, there is

      no prior art precursor of any of the extraction engine, select content, categorical filter, contextual

      filter, conceptual filter, taxonomic filter, adaptive filter, classification engine, mapping system,

      select data storage architecture, or reconstruction protocol as described in the DigitalDoors Patents.

28.   As further evidence of the fact that the inventions as described and claimed in the DigitalDoors

      patents were unconventional and non-obvious is the known timeline and years-long collective

      effort on the part of the financial services industry to develop the infringing technologies. More

      specifically, the financial services industry did not even begin to develop a secure architecture

      which extracts specific sensitive content for specialized storage and subsequent reconstruction

      until 2015 as a response to growing cyber threats. See, e.g., Joint White Paper authored by Dell

      and Sheltered Harbor entitled: A Sheltered Harbor in a Cyber Storm, available at

      https://shelteredharbor.org/index.php/about#press (Sheltered Harbor Press Room); also available

      at:   www.delltechnologies.com/asset/en-au/products/data-protection/industry-market/sheltered-

      harbor-white-paper.pdf (each as visited October 20, 2023) (hereafter as “Joint White Paper”). The

      fact that the financial services community took several years to develop its own standard is strong

      evidence that the inventions as claimed in the DigitalDoors Patents were non-obvious, and the fact




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               13
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 14 of 115 PageID #: 14




     that the industry did not begin its own development until 2015 is strong evidence that the

     technological solutions as claimed were unconventional as of the Date of Invention. Indeed, Dell

     did not fully develop its compliant Sheltered Harbor system until five years after the initialization

     of the Sheltered Harbor working group. See, e.g., Dell Podcast EP032 (at 2:05-3:20 time mark),

     available at: www.spreaker.com/user/11960889/power2podcast-ep032 (as visited October 20,

     2023) (hereafter as “Dell Podcast”). The fact that Dell spent five years developing its own

     compliant system is strong evidence that the technical solutions as described and claimed in the

     DigitalDoors Patents were unconventional and non-obvious as of the Date of Invention. Likewise,

     the fact that over 900 subject matter experts have contributed to the Sheltered Harbor standards is

     strong evidence that the technical solutions as described and claimed in the DigitalDoors Patents

     were unconventional and non-obvious as of the Date of Invention. See, e.g., Cobalt Iron White

     Paper, entitled: Building Cyber Resilience to Maintain Public Confidence in the Financial

     Industry: Sheltered Harbor and Cobalt Iron, available at: https://shelteredharbor.org/

     index.php/about#press (Press Room); also available at: https://shelteredharbor.org/images/

     ShelteredHarbor/Documents/CobaltIron-WhitePaper-SheltredHarbor-20220607_Final.pdf

     (hereafter as ”Cobalt Iron White Paper”). Still further, the fact that the Sheltered Harbor solution

     is viewed within the technological community as a groundbreaking “blueprint for how modern

     cyber-protections should be designed and delivered, especially in a very vulnerable industry like

     financial services” (see Dell Podcast (at 4:00-4:25 time mark) is strong evidence that the technical

     solutions as described and claimed in the DigitalDoors Patents were unconventional and non-

     obvious as of the Date of Invention. See also Cobalt Iron White Paper (“In fact, now that the

     financial industry has figured out how to respond to a catastrophic data event, Sheltered Harbor

     has formed key alliances to expedite your data vaulting progress”).




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             14
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 15 of 115 PageID #: 15




29.   Further, the deficiencies in the state of the art as of the Date of Invention were highly problematic,

      inasmuch as enterprises could not effectively manage sensitive data at the informational level. See,

      e.g., ‘301 Patent at 9:46-58. The inventions as claimed in the DigitalDoors Patents overcame the

      deficiencies in the art by offering the unconventional approach of implementing categorical filters,

      including content-based filters, contextual filters, and taxonomic filters, thus allowing substantial

      data security benefits. As such, the technological solutions of the DigitalDoors Patents were not

      well-understood, routine, or conventional as of January 2007, and provided greatly improved

      system performance over the state of the art.

30.   Still further, in view of the deficiencies in the state of the art as of the Date of Invention, enterprises

      could not effectively extract specific content from structured and unstructured data. See, e.g., ‘301

      Patent at 1:31-38; 1:50-56; 2:54-61; and 19:53-55. The inventions as claimed in the DigitalDoors

      Patents overcame the deficiencies in the art by offering an unconventional taxonomic analysis,

      including tag placeholder substitution, thus allowing substantial data security benefits. As such,

      the technological solutions of the DigitalDoors Patents were not well-understood, routine, or

      conventional as of January 2007, and provided greatly improved system performance over the state

      of the art.

31.   Further, the deficiencies in the state of the art as of the Date of Invention were such that enterprises

      could not effectively control the security of their open information ecosystems. See, e.g., ‘301

      Patent at 2:3-27. The inventions as claimed in the DigitalDoors Patents overcame the deficiencies

      in the art by offering an unconventional architecture which includes an inference engine as a

      counterbalance, thus allowing substantial data security benefits. See, e.g., id. at 26:49-27:2. As

      such, the technological solutions of the DigitalDoors Patents were not well-understood, routine, or




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                    15
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 16 of 115 PageID #: 16




      conventional as of January 2007, and provided greatly improved system performance over the state

      of the art.

32.   As noted, the claims of the DigitalDoors Patents have priority to at least January 5, 2007. The

      deficiencies in the state of the art as of the Date of Invention were highly problematic, inasmuch

      as enterprises could not effectively address the changing sensitivity value of information over the

      lifecycle of the information file. See id. at 2:28-61 and 9:53-58. The inventions as claimed in the

      DigitalDoors Patents overcame the deficiencies in the art by offering an unconventional

      architecture which includes a life cycle engine, thus allowing substantial security management

      advantages over an extended period and in view of changing circumstances. See, e.g., id. at 26:49-

      27:2. As such, the technological solutions of the DigitalDoors Patents were not well-understood,

      routine, or conventional as of January 2007, and provided greatly improved system performance

      over the state of the art.

33.   Still further, the then-existing dispersal algorithms as of the Date of Invention did not allow for

      the mapped dispersal of information to secure and select storage. See, e.g., ‘301 Patent at 15:23-

      39. The inventions as claimed in the DigitalDoors Patents overcame the deficiencies in the art by

      offering an unconventional architecture which includes the ability to disperse content of the whole

      data stream while maintaining access to the constituent parts of the content. See id. As such, the

      technological solutions of the DigitalDoors Patents were not well-understood, routine, or

      conventional as of January 2007, and provided greatly improved system performance over the state

      of the art.

34.   Likewise, the dispersal algorithms as of the Date of Invention did not allow for the use of granular

      data which is stored in a known and accessible storage. See, e.g., ‘301 Patent at 15:43-58. The

      inventions as claimed in the DigitalDoors Patents overcame the deficiencies in the art by offering




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             16
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 17 of 115 PageID #: 17




      an unconventional architecture which reduces security risks by storing smaller and more granular

      pieces of data, and by modifying the conventional method of allowing access to data only when

      data is retrieved from a few stores and then combined together. See id. As such, the technological

      solutions of the DigitalDoors Patents were not well-understood, routine, or conventional as of

      January 2007, and provided greatly improved system performance over the state of the art.

35.   Further, the conventional systems as of the Date of Invention did not provide a means for

      performing a first granular extract of data form the source, followed by the use of a dispersal

      algorithm to secure extracted granular pieces of data, one at a time. See, e.g., ‘301 Patent at 15:63-

      16:24. The inventions as claimed in the DigitalDoors Patents overcame the deficiencies in the art

      by offering an unconventional architecture which “brings flexibility to the system as a whole since

      granular pieces can be reconstituted, one at a time, and released from [the information dispersal

      algorithm] for knowledge management operations without compromising the security of the whole

      document.” See id. As such, the technological solutions of the DigitalDoors Patents were not

      well-understood, routine, or conventional as of January 2007, and provided greatly improved

      system performance and security over the state of the art.

36.   Still further, the conventional systems as of the Date of Invention did not offer the security

      measures of the inventions as claimed. As described by the inventors: “By securing granular data

      pieces with the Information Dispersal Algorithm or IDA, the system’s granular data parts once

      reconstituted by the IDA are available in system storage and are stand-alone data structures –

      (encrypted or not). These stand-alone data structures and the granular data therein can be read on

      their own without the need to bring together other data shares. Because extracts can be in plain

      text or decrypted – and stand in their own data structure, the sys-admin can authorize an advanced

      search and knowledge management operations through the granular data structure.” See ‘301




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               17
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 18 of 115 PageID #: 18




      Patent at 16:7-24. These security advances follow from the inventive architecture which, inter

      alia, incorporates filtered and distributed storage. These advantages are explained by the patentee,

      including as follows: “Distributed storage stores need less security than a centralized data

      repository for a number of reasons. First, the distributed storage stores hold only parts of the data

      and they are of lower interest to an attacker that will need to attack few dispersed stores to get the

      total content. Second, the stores are scattered and if hidden they call for less security. The need

      for less security means lower costs; more efficiency and less processing power. Thus, dispersal of

      data to distributed storage stores is inherently ‘built in’, ‘baked in’ security.” Id. at 16:39-47. As

      such, the technological solutions of the DigitalDoors Patents were not well-understood, routine, or

      conventional as of January 2007, and provided greatly improved system performance and security

      over the state of the art.

37.   Still further, the conventional security protocols as of the Date of Invention were premised on

      designations permitting access to files beating specific classification labels. See, e.g., ‘301 Patent

      at 99:34-65. The inventions as claimed in the DigitalDoors Patents overcame the deficiencies in

      the art by offering an unconventional approach which “uses a granular or filter approach to make

      secure the sensitive data in a particular document. [Select Content] labels, matching the relevancy

      of the [Select Content] data may be employed rather than security level tags.” Id. As such, the

      technological solutions of the DigitalDoors Patents were not well-understood, routine, or

      conventional as of January 2007, and provided greatly improved system performance over the state

      of the art.

38.   The inventions as described and claimed in the DigitalDoors Patents specifically advance the art

      in unconventional ways, including but not limited to the following: “(a) To automatically control

      selection of data objects within a data stream and release them in a controlled method only to




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               18
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 19 of 115 PageID #: 19




     authorized parties; (b) To automatically separate data objects within a data stream into two or more

     digital data streams according to the importance and categorization of contents, through extraction

     and removal of the prioritized content and its replacement by appropriate placeholders; (c) To

     automatically control selected contents in E-mail, and enable its release in a controlled method

     only to authorized parties; (d) To enable users to leverage the growth in computer and

     telecommunications connectivity and electronic commerce by reducing security risks; (e) To

     enable users to release documents, digital files, and data streams into closed and opened digital

     networks with the confidence that important, identifying, and critical contents in that documents,

     digital files, and data streams is secure and will be seen only by authorized parties; (f) To enable

     real time simultaneous customization and personalization of selected contents within a data stream

     to different parties, allowing instant display of the selected content or part of it based on, and

     tailored made to the status of the user or receiving party; (g) To secure the important and critical

     contents of a document or digital file by transporting said contents into a separated data stream

     and removing said data stream to a removed storage memory, while eradicating any copies,

     temporary caches, or traces of the removed extracts on the original computer or machine; (h) To

     enable instant return transfer to the display or to another display all or part of extracted content

     instantly with verification of authorized user; (i) To create a projection of the original document,

     digital file, data objects within a data stream, or variations of it through combined projection of

     the splinted data streams, while maintaining separation between the data streams; (j) To create an

     alternative method for security, instead of encryption, which is secure, cost effective, less time-

     consuming, and flexible; (k) To enable automatic timed removal of specific content items,

     automatically or manually selected from a document, digital file, or data objects within a data

     stream; [and] (l) To enable an automatic timed reconstruction (reconstitution) of the said




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                            19
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 20 of 115 PageID #: 20




      document, digital file, or data objects within a data stream.” See, e.g., ‘301 Patent at 102:39-

      103:13.   As such, the technological solutions of the DigitalDoors Patents were not well-

      understood, routine, or conventional as of January 2007, and provided greatly improved system

      performance over the state of the art.

39.   The inventions as described and claimed in the DigitalDoors Patents specifically advance the art

      in unconventional ways, including but not limited to assigning different weights to individual

      granular content items. See, e.g., ‘301 Patent at 17:57-18:25. Such enhanced capacity to

      manipulate granular data unconventionally improved upon the performance and security of data

      management systems as of the Date of Invention.

40.   Further, the inventions as described and claimed in the DigitalDoors Patents specifically advance

      the art in unconventional ways, including but not limited to improving upon the creation of “tear

      tagged lines” in the form of contextual ranges within a given data source. See, e.g., ‘301 Patent at

      19:8-49. The inventions unconventionally select ranges of contiguous content and apply an

      inference engine to assign different weights to different granular content items. Id. Such enhanced

      capacity to manipulate granular data unconventionally improved upon the performance and

      security of data management systems as of the Date of Invention.

41.   Still further, the inventions as described and claimed in the DigitalDoors Patents specifically

      advance the art in unconventional ways, including but not limited to providing a system and

      method for controlled release of data and granular data streams after verification and validation

      before the release of each layer.         See, e.g., ‘301 Patent at 20:42-59.         The inventions

      unconventionally reduce security risks by storing smaller and more granular pieces; attackers thus

      require access to multiple stores to piece together all the content. Further, individual layers of data

      of the original document data stream may be released at once or at different times. Id. Such




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                20
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 21 of 115 PageID #: 21




      enhanced capacity to manipulate granular data unconventionally improved upon the performance

      and security of data management systems as of the Date of Invention.

42.   In addition, the inventions as described and claimed in the DigitalDoors Patents specifically

      advance the art in unconventional ways, including but not limited to providing a system and

      method for flexible content access based on “rolling” granular data exposure with decryption for

      better workflow. See, e.g., ‘301 Patent at 21:45-67. The inventions unconventionally introduce

      “a solution based on creation of (1) granular pieces of data (2) a distributed storage framework as

      a way to deal with the need to encrypt yet not overwhelm the processing and other computing

      workflow. The system creates granular data pieces out of the original document/data stream. This

      is done through a process of content analysis, selection, extraction and dispersal to distributed

      storage.” Id. Such enhanced capacity to manipulate granular data unconventionally improved

      upon the performance and security of data management systems as of the Date of Invention.

43.   Still further, the conventional security protocols as of the Date of Invention were deficient in their

      inability to protect privacy and security. See, e.g., ‘301 Patent at 26:49-27:2. The inventions as

      claimed in the DigitalDoors Patents overcame the deficiencies in the art by offering an

      unconventional approach “by controlling the access to sensitive content. The sensitive information

      is defined by the inference engine. Documents and data streams are filtered by the inference

      engine, granular data is selected, (and may be extracted to distributed stores). Granular pieces of

      data are released by a controlled mechanism to avoid security and privacy breaches.” Id. As such,

      the technological solutions of the DigitalDoors Patents were not well-understood, routine, or

      conventional as of January 2007, and provided greatly improved system performance, and

      specifically improved security measures, over the state of the art.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               21
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 22 of 115 PageID #: 22




44.   Further, the deficiencies in the state of the art as of the Date of Invention were such that search

      results were imprecise and not comprehensive. See, e.g., ‘301 Patent at 28:33-47. The inventions

      as claimed in the DigitalDoors Patents overcame the deficiencies in the art by offering an

      unconventional architecture which “establishes an interaction between distributed storage stores

      with data mining operations.” Id. As such, and because “searching in different stores (each one

      with its own subject matter) results in more robust search results,” the technological solutions of

      the DigitalDoors Patents were not well-understood, routine, or conventional as of January 2007,

      and provided greatly improved system performance over the state of the art. Id.

45.   Still further, the conventional systems as of the Date of Invention failed to store different data

      extracts in one storage location. See, e.g., ‘301 Patent at 28:51-29:14. The inventions as claimed

      in the DigitalDoors Patents overcame the deficiencies in the art by offering an unconventional

      approach which “stores extracts of a data stream in different memories within one storage location.

      There is a major difference between splitting a document or a data stream and placing its parts in

      one storage location and [the inventions as described], which deals with placing extracts of a

      document or a data stream in one storage location. This invention deals in a situation that a whole

      data asset was already parsed – and split into a ‘remainder’ and ‘extracts.’ What is transferred to

      one storage location is not all the pieces of a whole document or data assets but partial part of the

      whole the ‘extracts.’” Id. As such, the technological solutions of the DigitalDoors Patents were

      not well-understood, routine, or conventional as of January 2007, and provided greatly improved

      system performance over the state of the art.

46.   The inventions of the Asserted Patents unconventionally improve upon online data storage

      techniques existing as of the Date of invention. As explained by the patentee: “The invention also

      proposes a new architecture for storage on the internet. The invention enables a user to make as




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              22
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 23 of 115 PageID #: 23




      many copies as he wants of a document or data stream with minimal amount of security risk. If a

      storage node is attacked a small granular piece will not pose a serious threat. A small granular

      piece does not convey all the substance of the original document/data stream. If the replicated

      piece is small enough the attacker will find it useless because it is out of context. For example, a

      granular piece of data which is a name only can’t create a serious threat because it is out of context.

      Other stores need to be attacked successfully to access their data to give context to the small

      granular data piece. The security risk of having many copies can be reduced by the user decreasing

      the size of the granular pieces and dispersing the different pieces to different distributed storage

      store.” See ‘301 Patent at 30:33-57. As such, the technological solutions of the DigitalDoors

      Patents were not well-understood, routine, or conventional as of January 2007, and provided

      greatly improved system performance over the state of the art.

47.   Moreover, the inventions of the Asserted Patents unconventionally improved upon online data

      storage techniques existing as of the Date of invention by “deliver[ing] capabilities to transform

      order within the data content into disorder making it very hard for an enemy to attack.” See ‘301

      Patent at 34:55-35:25. This approach moves away from traditional perimeter security and, as such,

      the technological solutions of the DigitalDoors Patents were not well-understood, routine, or

      conventional as of January 2007, and provided greatly improved system performance over the state

      of the art. Id.

48.   Still further, the inventions of the Asserted Patents unconventionally improved upon online data

      storage techniques existing as of the Date of invention by offering an architecture which

      “minimizes data.” More specifically, the inventions “provide a system and method for flexible

      content access based on rolling granular data exposure with decryption for added security.

      Granular pieces of the original document/data stream are dispersed to distributed storage nodes to




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                23
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 24 of 115 PageID #: 24




      enable a controlled secured environment for release of data. The granular data layers can be

      exposed one at a time decrypted instead of exposure of a total document.” See ‘301 Patent at

      35:31-41. As such, the technological solutions of the DigitalDoors Patents were not well-

      understood, routine, or conventional as of January 2007, and provided greatly improved system

      performance and security over the state of the art. Id.

49.   In addition, the inventions as described and claimed in the DigitalDoors Patents specifically

      advance the art in unconventional ways, including but not limited to “establishing a stronger

      multilevel security (or MLS) architecture and product, than is currently available.” See, e.g., ‘301

      Patent at 98:65-99:14. The inventions unconventionally “introduces multilevel security through

      sanitization of critical content of a source or plaintext document (or data object) with the unique

      ability to reconstruct all or part of the original document in conformance to the classification level

      of the user.” Id. Such enhanced capacity to manipulate granular data unconventionally improved

      upon the performance and security of data management systems as of the Date of Invention.

50.   Still further, the inventions as described and claimed in the DigitalDoors Patents specifically

      advance the art in unconventional ways, including but not limited to “resolving the major

      challenges facing government in enabling sharing of information between its different

      organizations in relationship to conducting military operations as well as fighting terrorism.” See,

      e.g., ‘301 Patent at 100:41-67. The inventions unconventionally provide an architecture in which

      granular data is controlled based upon authorization. Such enhanced capacity to manipulate

      granular data unconventionally improved upon the performance and security of data management

      systems as of the Date of Invention.

51.   Yet still further, the inventions as described and claimed in the DigitalDoors Patents specifically

      advance the art in unconventional ways, including but not limited to “avoiding any one point of




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               24
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 25 of 115 PageID #: 25




      failure.” See, e.g., ‘301 Patent at 101:53-102:29. The inventions unconventionally provide an

      architecture which includes the “creation of substantial lines of defense in depth. The attacker will

      need to break through many obstacles before accessing all the dispersed data of the document.”

      Id. Such enhanced capacity to manipulate granular data unconventionally improved upon the

      performance and security of data management systems as of the Date of Invention.

52.   Still further, as of the Date of Invention, the private sector did not generate or keep the massive

      amounts of data it now does; not did it have the same concerns about data security or data recovery

      after a disaster. Likewise, there was very little meaningful private-sector activity directed at

      addressing these issues. Nevertheless, as of the Date of Invention, the United States government

      and military collectively generated substantial volumes of data, much of which carried varying

      levels of secrecy designation. At that time, the government had deficient means of maintaining

      the secrecy of such data, and external hackers were also a concern. In view of such deficiencies

      and concerns, and as noted above, Messrs. Redlich and Nemzow founded DigitalDoors to develop

      data-security and survivability solutions for the United States government, and primarily for its

      military and intelligence agencies. Core features of what DigitalDoors developed included

      extracting specific content from files, documents, and data objects and then dispersing both the

      extracted and remainder data separately in pieces to different storage locations. See, e.g., ‘301

      Patent at 16:25-38. This new and inventive method of data extraction and distributed storage

      increased security because hackers would have to hack multiple locations without knowing where

      or what they were, or how to fit pieces together. See, e.g., ‘301 Patent at 16:25-38; 48:56-67. It

      also provided survivability, particularly when different copies of the same pieces were distributed

      in different locations, because a military strike would be unlikely to wipe out all the pieces of the

      data. See, e.g., ‘301 Patent at 16:25-38.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              25
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 26 of 115 PageID #: 26




53.   In view of at least the foregoing, which is merely representative of the disclosures of the

      DigitalDoors Patents, the claims of the DigitalDoors Patents are not drawn to laws of nature,

      natural phenomena, or abstract ideas.      Although the systems and methods claimed in the

      DigitalDoors Patents are known and implemented now (and, as a result, are widely infringed), the

      specific combinations of elements and steps, as recited in the claims, were not conventional or

      routine as of the Date of Invention.

54.   Further, and in view of at least the foregoing, which is merely representative of the disclosures of

      the DigitalDoors Patents, the claims of the DigitalDoors Patents contain inventive concepts which

      transform the underlying non-abstract aspects of the claims into patent-eligible subject matter.

55.   Consequently, the claims of the DigitalDoors Patents recite methods resulting in improved

      functionality of the systems on which they are performed and represent technological

      improvements to the operation of computers as tools of trade.

56.   The foregoing facts not only establish a basis to find that the claims of the DigitalDoors Patents

      were unconventional and non-abstract as of the Date of Invention, they also comprise secondary

      indicia of non-obviousness.

57.   The DigitalDoors Patents were examined by a multitude of United States Patent Examiners,

      including: Ranodhi Serrao (‘301 Patent); Farrukh Hussain (‘301 Patent); David Lazaro (‘169

      Patent); S.M.A. Rahman (‘073 Patent and ‘639 Patent).            During the examination of the

      DigitalDoors Patents, the United States Patent Examiners searched for prior art in the following

      US Classifications: 706/59; 707/4; 707/206; 707/609; 707/777; 709/201; 709/203; 709/204;

      709/206; 709/217; 709/223; 709/225; 709/226; 707/302; 713/166; 715/748; 726/13; 726/22;

      726/23; 726/24; and 726/26.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               26
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 27 of 115 PageID #: 27




58.   After giving full and proper credit to the prior art and having conducted a thorough search for all

      relevant art and having fully considered the most relevant art known at the time, the United States

      Patent Examiners each allowed all of the claims of the DigitalDoors Patents to issue. In so doing,

      it is presumed that Examiners Serrao, Hussain, Lazaro, and Rahman used their knowledge of the

      art when examining the claims. K/S Himpp v. Hear-Wear Techs., LLC, 751 F.3d 1362, 1369 (Fed.

      Cir. 2014). It is further presumed that Examiners Serrao, Hussain, Lazaro, and Rahman each had

      experience in the field of the invention, and that the Examiners properly acted in accordance with

      a person of ordinary skill. In re Sang Su Lee, 277 F.3d 1338, 1345 (Fed. Cir. 2002). In view of

      the foregoing, the claims of the DigitalDoors Patents are novel and non-obvious, including over

      all non-cited art which is merely cumulative with the referenced and cited prior art. Likewise, the

      claims of the DigitalDoors Patents are novel and non-obvious, including over all non-cited

      contemporaneous state of the art systems and methods, all of which would have been known to a

      person of ordinary skill in the art, and which were therefore presumptively also known and

      considered by Examiners Serrao, Hussain, Lazaro, and Rahman.

59.   The DigitalDoors Patents are pioneering patents, and have been cited as relevant prior art in

      hundreds of subsequent United States Patent Applications, including Applications assigned to such

      technology leaders as Apple, Xerox, Yahoo!, Raytheon, IBM, Mitsubishi, Blackberry, Microsoft,

      Dropbox, Oracle, Fujitsu, NEC Corp., Ricoh, Verifone, Google, Sonos, Symantec, Juniper

      Networks, PriceWaterhouse Coopers, Sony, Amazon, Intuit, Uniloc, Qualcomm, Nokia, Hitachi,

      Honeywell, Hewlett-Packard, Northrop Grumman, Adobe, State Farm, Facebook, Disney, General

      Electric, Intel Corp., Siemens, KPMG, Cisco, Equifax, Kyocera, Motorola, Allstate, and Lenovo,

      in addition to financial services leaders including Wells Fargo, Bank or America, JPMorgan Chase,

      Capital One, and PayPal.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                            27
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 28 of 115 PageID #: 28




60.   The claims of the DigitalDoors Patents were all properly issued, and are valid and enforceable for

      the respective terms of their statutory life through expiration, and are enforceable for purposes of

      seeking damages for past infringement even post-expiration. See, e.g., Genetics Institute, LLC v.

      Novartis Vaccines and Diagnostics, Inc., 655 F.3d 1291, 1299 (Fed. Cir. 2011) (“[A]n expired

      patent is not viewed as having ‘never existed.’ Much to the contrary, a patent does have value

      beyond its expiration date. For example, an expired patent may form the basis of an action for

      past damages subject to the six-year limitation under 35 U.S.C. § 286”) (internal citations omitted).

61.   The nominal expiration date for the claims of the DigitalDoors Patents is no earlier than the year

      2028, and as late as the year 2030.

                                 INFRINGING TECHNOLOGIES

62.   The financial services industry, as a collective, places great value on the security of customer data.

      In that regard, “Sheltered Harbor is an industry-driven initiative launched in 2015 to promote the

      stability of the U.S. financial markets by protecting critical account information and data sets of

      market participants in order to facilitate the recovery and use of such information following a

      destructive cyberattack or other extreme loss of operational capability. This is achieved through a

      combination of: (i) Data Vaulting: Protection, portability, and recovery standards for critical data

      sets; (ii) Resiliency Planning: Business and technical processes, incident response

      communications, and key decision arrangements to be activated to ensure continuity of critical

      customer facing business services when traditional disaster recovery and business continuity plans

      fail; and (iii) Certification: Quality assurance mechanism consisting of requisite controls,

      processes, independent audits, and management assertions.” See, e.g., Sheltered Harbor Operating

      Rules, January 2023, at § 1.0, available at: https://shelteredharbor.org/images/SH/Docs/Sheltered-

      Harbor-Operating-Rules.pdf (as visited October 20, 2023) (hereafter as “Operating Rules”). It is




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               28
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 29 of 115 PageID #: 29




      widely recognized that “the financial services industry bears a burden of responsibility to be extra

      diligent in careful planning for protecting customers, recovery against [business disruptions], and

      providing industry stability.” Operating Rules at § 1.0.

63.   Sheltered Harbor was founded by 34 financial institutions and is owned by FS-ISAC Inc., which

      is a nonprofit organization with over 5000 members worldwide.            See SBS Article entitled

      “Sheltered Harbor: A Safe Haven From the Perfect Storm,” available at: sbscyber.com/resources/

      sheltered-harbor-a-safe-haven-from-the-perfect-storm (as visited October 20, 2023) (hereafter as

      “Safe Haven”); see also https://www.fsisac.com/ (About Us) (hereafter as “FS-ISAC Website”).

      The Board of Directors for FS-ISAC includes representatives from at least the following: (i)

      Citigroup; (ii) Bank of America; (iii) PNC Bank; (iv) U.S. Bank; (v) Morgan Stanley; (vi) Scotia

      Bank; (vii) Mass Mutual; (viii) Truist; (ix) Banco Santander; and (x) Deutsche Bank. See FS-

      ISAC Website.       Sheltered Harbor “provides the only industry-developed standards and

      certifications for resilience, data recovery, and protection of isolated data.” See Cobalt Iron White

      Paper.

64.   Sheltered Harbor “coordinates the development of the standards; promotes their adoption across

      the industry; supports implementation by market participants; and ensures adherence through

      certification and independent audits. Sheltered Harbor currently supports all financial institutions.

      With its participant base holding nearly three-quarters of U.S. deposit accounts and retail

      brokerage assets, Sheltered Harbor is a significant step in the financial sector’s ongoing business

      continuity and operational resilience efforts. Its specifications support the protection of isolated

      critical data of any type, and its guides support best practices for cyber-resilience preparations.”

      Operating Rules at § 1.0.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              29
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 30 of 115 PageID #: 30




65.   Stated somewhat differently, it is the express mission of Sheltered Harbor to “protect public

      confidence in the U.S. financial system if a devastating event like a cyberattack causes an

      institution’s critical systems - including backups - to fail.” See Sheltered Harbor At-A-Glance,

      available at: https://shelteredharbor.org/index.php/about#who (Fact Sheet) (as visited October 20,

      2023) (hereafter as “At-A-Glance”). Again, there is near uniform participation in the Sheltered

      Harbor standard across the financial services industry, as reflected in the following graph (see At-

      A-Glance):




66.   The Sheltered Harbor initiative “looks to industry experts to define a set of standards that all

      Sheltered Harbor participants (‘Participants’) will conform to in order to ensure their firms have

      the ability to revert to uncompromised data and operationalize this data in a manner that promotes

      sector stability.” Operating Rules at § 1.1.

67.   “All Sheltered Harbor’s Specifications document the culmination of the work of multiple industry

      working groups tasked with defining a set of standards that all Sheltered Harbor Participants will

      conform to in order to protect their critical information and supporting data sets. Sheltered

      Harbor’s Data Protected Specifications describe Participant implementation of the standards for

      securely storing and recovering critical account data, as well as Participant adherence requirements

      in the Sheltered Harbor Specifications document. The Data Vaulting Process Specifications

      describe Participant implementation of the standards for securely storing and recovering self-

      defined critical data. Both documents are only available to Sheltered Harbor Participants1.

      Sheltered Harbor maintains and updates the standards in the Specifications documents through


ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             30
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 31 of 115 PageID #: 31




      ongoing oversight and adaptation in response to developments in the industry.” Operating Rules

      at § 1.2.

68.   The focus of the Sheltered Harbor initiative is to: “(i) Improve resiliency of the U.S. financial

      system by preventing loss of critical customer account information and supporting data sets; (ii)

      Establish and maintain commonly agreed data formats and procedures for securely storing and

      restoring critical financial account data of U.S. Firm Participants to enable restoration and use of

      such information; (iii) Promote and certify the use of common data formats and procedures for

      securely storing and restoring critical financial account information; (iv) When and if necessary,

      assist in facilitating the recovery of critical customer account data using the Sheltered Harbor

      procedures and playbooks; and (v) Promote and certify the process for securely storing and

      restoring self-defined critical data sets.” Operating Rules at § 4.1.

69.   One key aspect of the Sheltered Harbor specification is “to create extremely secure (and

      segmented) backups of financial data across the financial sector.” See Safe Haven. This objective

      is accomplished by, inter alia, extracting critical financial information from accounts and

      converting such information into Sheltered Harbor’s industry-standard format. The information is

      then validated, and encryption is applied before the information is transmitted to Sheltered

      Harbor’s secure data vault for storage. Financial institutions who are certified by Sheltered Harbor

      have the option to store data directly to an in-house data vault which follows Sheltered Harbor’s

      standards, or to otherwise utilize the data vault as an outsourced service. The Sheltered Harbor

      model assumes there is no central repository for protected accounts. See Safe Haven.

70.   Under the Sheltered Harbor model, extracted financial information is securely stored until needed

      by the financial institution. Once needed, the information is transmitted back to the institution as

      encrypted data to be decrypted. The data then loads back into its core platform and will allow for




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             31
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 32 of 115 PageID #: 32




      basic account functions to ensure the institution is able to provide continued service to its

      customers. See Safe Haven.

71.   One exemplary system endorsed by Sheltered Harbor (and which satisfies all of the technical

      requirements established by Sheltered Harbor) is the Dell PowerProtect Cyber Recovery for

      Sheltered   Harbor.       See,   e.g.,   Dell   Technologies     Solution    Brief,   available   at:

      https://www.delltechnologies.com/asset/en-sg/products/data-protection/briefs-summaries/h18199

      -powerprotect-cyber-recovery-for-sheltered-harbor-solution-brief-endorsement.pdf (as visited

      October 20, 2023) (hereafter as “Dell Sheltered Harbor Solution Brief”).

72.   As recognized in the Dell Sheltered Harbor Solution Brief, “Sheltered Harbor enhances U.S.

      financial stability and institutions’ cyber resilience by isolating critical customer account records

      and other data immutably within a digital vault.” See Dell Sheltered Harbor Solution Brief. The

      Dell Sheltered Harbor system provides nightly backups of critical data in the Sheltered Harbor

      standard format, as created by the participating financial institution. The data vault is encrypted,

      unchangeable, and isolated from the financial institution’s infrastructure. See id. The architecture

      of the Dell Sheltered Harbor system specifically performs the Archive Generation and Secure

      Repository processes of the Sheltered Harbor standard, as illustrated below (see Dell Sheltered

      Harbor Solution Brief):




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              32
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 33 of 115 PageID #: 33




73.   The Sheltered Harbor specifications require participants to protect critical data sets, including by

      creating dedicated, isolated environments which are physically separated from corporate networks

      and backup systems. Such data sets are converted for storage into Sheltered Harbor standardized

      format so that basic banking services can be quickly resumed for customers following an attack or

      failure. See Dell Sheltered Harbor Solution Brief.

74.   The Dell PowerProtect Cyber Recovery for Sheltered Harbor satisfies all of the technical

      requirements of the Sheltered Harbor specification, and represents “the culmination of two years

      of working alongside the Sheltered Harbor team [by Dell] to develop this solution for Financial

      Services organizations.” See Dell White Paper entitled: PowerProtect Cyber Recovery Endorsed

      by Sheltered Harbor, available at https://www.dell.com/en-us/blog/dell-emc-powerprotect-cyber-

      recovery-endorsed-by-sheltered-harbor/ (as visited October 20, 2023) (hereafter as “Dell

      Endorsement”). According to the Chief Operating Officer for Sheltered Harbor, the Dell

      PowerProtect Cyber Recovery system is configured to preserve critical data and ensure rapid

      recovery “in accordance with Sheltered Harbor’s resiliency standards.” See Dell Endorsement.

      As similarly stated by Dell, the PowerProtect Cyber Recovery system “meets all of the stringent

      Sheltered Harbor criteria.” See id.

75.   The Sheltered Harbor specifications are established directly by the financial services industry to

      ensure that consumers receive timely access to their accounts in the event that their bank becomes

      inoperable due to a major cyber event.       As part of the Sheltered Harbor specification, all

      participating financial institutions make a daily copy of the consumer’s account data in a standard

      format, which enables the restoration of individual accounts by another institution or processor in

      the event of a major loss of operations. All participating financial institutions update their

      adherence reviews to ensure that the Sheltered Harbor standards are exercised consistently and in




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             33
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 34 of 115 PageID #: 34




      accordance with Sheltered Harbor specifications. Sensitive account data is archived in a secure

      data vault that is protected from alteration or deletion. The data remains intact and accessible if

      needed, exactly as when it was archived. In this way, each financial institution provides its own

      data vault. See Independent Community Bankers of America article entitled: Operational Risk:

      Sheltered Harbor, available at: www.icba.org/solutions/operational-risk/cyber-and-data-security/

      sheltered-harbor (as visited October 20, 2023) (hereafter as “Operational Risk”).

76.   The Sheltered Harbor specification identifies a number of critical data vaulting requirements: (i)

      The vault must be immutable, which means it must be unchangeable and not subject to deletion;

      (ii) The vault must be air-gapped, which means it must be isolated from production and backup

      systems; (iii) The vault must be survivable and non-accessible, which means it cannot be reliant

      on infrastructure that can be compromised; (iv) The vault must be decentralized, which means it

      is not reliant on any single production environment; and (v) The vault must be controlled by the

      financial institution, which means the data itself is fully owned by the financial institution. See

      Joint White Paper.

77.   The Sheltered Harbor specification provides for a common “restoration platform” which includes

      a standardized set of account data for post-attack restoration and reconstruction. See Joint White

      Paper.

78.   As noted, one exemplary system endorsed by Sheltered Harbor (and which satisfies all of the

      technical requirements established by Sheltered Harbor) is the Dell PowerProtect Cyber Recovery

      for Sheltered Harbor. The Dell PowerProtect system can be illustrated as follows (see Dell

      Solution    Brief    entitled:   Dell    PowerProtect      Cyber     Recovery,      available   at:

      www.delltechnologies.com/asset/en-us/products/data-protection/briefs-summaries/isolated-




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                            34
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 35 of 115 PageID #: 35




      recovery-solution-overview.pdf (as visited October 20, 2023) (hereafter as “Dell PowerProtect

      Solution Brief”):




79.   As explained by Dell, “the PowerProtect Cyber Recovery vault offers multiple layers of protection

      to provide resilience against cyberattacks even from an insider threat. It moves critical data away

      from the attack surface, physically isolating it within a protected part of the data center and requires

      separate security credentials and multi-factor authentication for access. Additional safeguards

      include an automated operational air gap to provide network isolation and eliminate management

      interfaces which could be compromised.             PowerProtect Cyber Recovery automates the

      synchronization of data between production systems including open systems and mainframes, and

      the vault creating immutable copies with locked retention policies. If a cyberattack occurs you

      can quickly identify a clean copy of data, recover your critical systems and get your business back

      up and running.” See Dell PowerProtect Solution Brief. Post-attack, Dell PowerProtect Cyber

      Recovery “provides management tools and the technology that performs the actual data recovery.

      It automates the creation of the restore points that are used for recovery or security analytics.” See

      id.



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                 35
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 36 of 115 PageID #: 36




80.   The PowerProtect Cyber Recovery vault “is disconnected from the production network through an

      automated air gap. The vault stores all critical data off-network to isolate it from attack. Cyber

      Recovery automates data synchronization between production systems and the vault by creating

      immutable copies with locked retention policies.” This system architecture is generally illustrated

      below.    See Dell PowerProtect Cyber Recovery: Reference Architecture, available at:

      www.delltechnologies.com/asset/en-us/products/data-protection/industry-market/h18661-dell-

      powerprotect-cyber-recovery-reference-architecture-wp.pdf (as visited October 20, 2023)

      (hereafter as “Reference Architecture”):




81.   The architecture as illustrated is comprised of two distinct environments: (i) a Production

      Environment; and (ii) a Vault Environment. With respect to the Production Environment, “it is

      taken that the data to be protected as part of the Cyber Recovery solution is available in a format

      supported by the DD series and CyberSense. The data must be stored on a DD series MTree in

      the production environment.” Meanwhile, the Vault Environment “contains a DD series and the

      Cyber Recovery management host that runs the Cyber Recovery software.              Data from the

      production environment enters the Cyber Recovery vault environment through DD series MTree



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                            36
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 37 of 115 PageID #: 37




      replication. This environment can also contain various recovery and analytics/indexing physical

      or virtual hosts that integrate with the solution.” See Reference Architecture. Further, “server

      infrastructure is installed in the vault environment and is not shared with or connected to the

      production environment.       Keeping vault server equipment separate from the production

      environment ensures that any ongoing issues (cyberattacks, operational issues, and so on) do not

      propagate into the vault environment. Additional safeguards include an automated operational air

      gap that provides network isolation and eliminates management interfaces.” Id. Still further, and

      with respect to the aforementioned “air gap,” Dell describes it as follows: “The term ‘air gap’

      implies physical isolation from an unsecure system or network. Logical air gap describes a

      physical connection but logical isolation from the network. The logical air gap provides another

      layer of defense by reducing the surface of attack. Cyber Recovery provides the air-gapped feature

      to keep the Cyber Recovery vault disconnected from the production network. The DD series in

      the Cyber Recovery vault is disconnected (air-gapped) from the production network most of the

      time and is only connected when Cyber Recovery triggers replication.” Id.

82.   The Sheltered Harbor standard requires, and is satisfied by, systems which manage and protect

      data containing sensitive content in distributed computing systems. See, e.g., Operating Rules (the

      Sheltered Harbor objective of protecting critical account information is achieved by data vaulting);

      see also id, at Exhibit 1 thereof, as reproduced below (illustrating distributed network architecture):




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                37
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 38 of 115 PageID #: 38




      see also Reference Architecture (illustrating Sheltered Harbor compliant system and distributed

      architecture), as reproduced below:




83.   The Sheltered Harbor standard requires, and is satisfied by, systems which manage and protect

      data containing sensitive content which is important to the operating enterprise; namely, customer

      financial account data. See, e.g., Operating Rules (“Sheltered Harbor is an industry-driven

      initiative launched in 2015 to promote the stability of the U.S. financial markets by protecting



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                           38
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 39 of 115 PageID #: 39




      critical account information and data sets of market participants in order to facilitate the recovery

      and use of such information following a destructive cyberattack or other extreme loss of

      operational capability”) (italicized emphasis added throughout, unless noted otherwise); see also

      Operating Rules at Exhibit 1 thereof (stating the Processing Environment “Extracts critical

      account data in industry-standard format”); see also Dell PowerProtect Cyber Recovery Solution

      Guide, available at: www.delltechnologies.com/asset/en-us/products/data-protection/technical-

      support/h17670-cyber-recovery-sg.pdf (as visited October 20, 2023) (hereafter “Solution Guide”)

      at 25 (“In addition to determining the objectives for the Cyber Recovery solution, you must

      characterize the data to be protected. The Cyber Recovery solution can protect any data that can

      be stored on a PowerProtect DD MTree. If Cyber Recovery is to protect an entire backup

      application and its backup data, the backup software must be able to store both its backup catalog

      (metadata) and backup data on one or more PowerProtect DD MTrees”).

84.   The Sheltered Harbor standard requires, and is satisfied by, systems in which the sensitive content

      to be protected is represented by predetermined words, characters, images, data elements, or

      objects. See, e.g., Operating Rules (“Sheltered Harbor is an industry-driven initiative launched in

      2015 to promote the stability of the U.S. financial markets by protecting critical account

      information and data sets of market participants in order to facilitate the recovery and use of such

      information following a destructive cyberattack or other extreme loss of operational capability”);

      see also Solution Guide at 25 (“In addition to determining the objectives for the Cyber Recovery

      solution, you must characterize the data to be protected. The Cyber Recovery solution can protect

      any data that can be stored on a PowerProtect DD MTree. If Cyber Recovery is to protect an

      entire backup application and its backup data, the backup software must be able to store both its

      backup catalog (metadata) and backup data on one or more PowerProtect DD MTrees”) (and




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              39
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 40 of 115 PageID #: 40




      further identifying “Data, such as application binaries, boot images, and backup catalog, that

      must be protected”).

85.   The Sheltered Harbor standard requires, and is satisfied by, systems in which the sensitive content

      to be protected is stored in a plurality of select content data stores. The Sheltered Harbor standard

      requires a “data vault,” which is an “ultra secure environment where data can be safely stored.”

      See Joint White Paper. By way of example, and as implemented in compliant systems, the

      authorized solution from Dell includes a plurality of such data stores, as illustrated below (see Dell

      PowerProtect Solution Brief) (illustrating multiple data stores, including Backup, Copy, Lock, and

      Analyze):




      see also PowerProtect Data Manager Administration and User Guide, available at:

      www.delltechnologies.com/asset/en-us/products/data-protection/technical-

      support/docu95705.pdf (as visited October 20, 2023) (hereafter as “PowerProtect User Guide”) at

      52 (stating “When you create a protection policy, the PowerProtect Data Manager software creates

      a storage unit on the specified Data Domain backup host that is managed by PowerProtect Data

      Manager. All subsequent backups will go to this new storage unit”).



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               40
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 41 of 115 PageID #: 41




86.   The Sheltered Harbor standard requires, and is satisfied by, systems in which the data stores for

      the sensitive content are operative with a plurality of designated categorical filters. As noted, the

      Sheltered Harbor standard requires a “data vault,” which is an “ultra secure environment where

      data can be safely stored.” See Joint White Paper. Such data vault is intended to house content

      derived from designated categorical filters, as established by the enterprise. As explained, the

      fundamental first step in the Sheltered Harbor process is to: “Identify the most critical business

      services that must be protected and resilient in the face of an ‘extreme but plausible event,’ and

      ultimately map these to the IT data and/or applications necessary to support them.” See Joint

      White Paper. Further, Sheltered Harbor requires the compliant enterprise to: “Protect the data

      and/or applications supporting the processes in a highly secure data vault, defining the

      requirements necessary for such a vault.” See Joint White Paper. Given the focus of Sheltered

      Harbor, the primary designated categorical filters relate to “two capabilities and essential services:

      providing customers continued access to their account balance information and cash. […] By

      narrowing the focus to this specific data set, Sheltered Harbor could avoid the complexity of having

      to also protect myriad applications and underlying technologies, enabling the creation of a

      common restoration platform … for those two critical business services.” See Joint White Paper.

      As a result, “[t]he Sheltered Harbor standards combine secure data vaulting of critical customer

      account information and a resiliency plan to provide customers timely access to their data and

      funds in a worst-case scenario.” See Joint White Paper. As a collective, Sheltered Harbor has thus

      “done the work of defining the critical business processes as well as the technical capabilities that

      are required for a quick restoration that is of mutual benefit to all participating institutions.” See

      Joint White Paper. This is accomplished by the extraction of critical account data, which is

      identified based upon predefined filters. See Operating Rules at Exhibit 1 thereof (Processing




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               41
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 42 of 115 PageID #: 42




      Environment: “Extracts critical account data in industry-standard format”); see also Safe Haven

      (explaining: “ When a financial institution joins Sheltered Harbor, critical financial information is

      extracted from accounts and converted into Sheltered Harbor’s industry-standard format”). As

      implemented, the enterprise establishes a “protection policy” (i.e., a set of filters) governing the

      data to be protected. See PowerProtect User Guide at 52.

87.   The Sheltered Harbor standard requires, and is satisfied by, systems in which the plurality of

      designated categorical filters are activated in order to obtain (extract) select content for protective

      vaulting. As noted, the Sheltered Harbor standard is premised on the extraction of critical financial

      account information, which is then converted into Sheltered Harbor’s industry-standard format.

      See, e.g., Operating Rules at Exhibit 1 thereof. As implemented, this includes the selection of

      protection policies by the enterprise, and the selection of conditions for each such policy. See

      PowerProtect Data Manager 19.13, Virtual Machine User Guide, available at: dl.dell.com/

      content/manual45487542-powerprotect-data-manager-19-13-virtual-machine-user-guide.pdf?

      language=en-us (as visited October 20, 2023) (hereafter as “Virtual Machine User Guide”), at 57.

      Protection rules are one exemplary embodiment of such categorical filters, which can be

      implemented in a variety of functionally equivalent ways to achieve the same result; namely, the

      filtering of data for inclusion in designated storage. By way of example, in the certified Dell

      PowerProtect system, “a rule with the filters VM Folder Name, Contains, and Finance can match

      assets belonging to your finance department to the selected protection policy.” See Virtual

      Machine User Guide at 58. The use of such protection rules and attributes for filtering content is

      a type of categorical filter implementation. See Virtual Machine User Guide at 58-59 (detailing

      use of Protection Rule Attributes, Conditions, Criteria, and Filters (e.g., “contains,” “does not




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                42
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 43 of 115 PageID #: 43




      contain,” “does not equal,” “ends with,” “equals,” “matches RegEx,” and “does not match

      RegEx”)).

88.   As noted, the Sheltered Harbor standard requires, and is satisfied by, systems in which the plurality

      of designated categorical filters are activated in order to obtain (extract) select content for

      protective vaulting. Again, the Sheltered Harbor standard is premised on the extraction of critical

      financial account information, which is then converted into Sheltered Harbor’s industry-standard

      format. See, e.g., Operating Rules at Exhibit 1 thereof. As implemented, the extracted information

      is either contextually or taxonomically associated. As explained by the inventors: “A simple

      classification system (hierarchical taxonomic system) can be established by reviewing the label

      descriptions on the structured data and then expanding class definitions with the use of the

      Knowledge Expander (KE) search engine. […] The hierarchical taxonomic system can be used

      to build contextual filters and taxonomic filters which can further protect Sec-con data and expand

      the value and quantity of SC data.” See ’301 Patent at 10:22-32. In practice, Sheltered Harbor

      systems allow for the grouping of tags using metadata or any of a number of functionally

      equivalent means of achieving the same result; namely, the filtering of data for inclusion in

      designated storage. By way of example, in the certified Dell PowerProtect system, virtual machine

      tags are created in the “vSphere Client.” Such virtual tags enable the enterprise to attach metadata

      to virtual inventory assets, making them easier to sort and search. See Virtual Machine User Guide

      at 56. Tags are grouped within categories, which can further include specific object types. See

      Virtual Machine User Guide at 56-58 (describing tag creation and protection rules). The use of

      tag grouping, including by the use of metadata, is an implementation of contextually or

      taxonomically associated data.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              43
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 44 of 115 PageID #: 44




89.   As noted, the Sheltered Harbor standard requires, and is satisfied by, systems in which the plurality

      of designated categorical filters are activated in order to obtain (extract) select content for

      protective vaulting. Such vaulting places aggregated select content into corresponding data stores.

      The Sheltered Harbor standard requires compliant enterprises to “back up critical customer

      account data each night in the Sheltered Harbor standard format, either managing their own vault

      or using their service provider. The data vault [e.g., corresponding data store] is encrypted,

      unchangeable, and completely separated from the institution’s infrastructure, including all

      backups.” See At-A-Glance. Compliant enterprises further “designate a restoration platform so

      that if the Sheltered Harbor Resiliency Plan is activated, the platform can recover data from the

      vault to restore customer funds access as quickly as possible.”              See At-A-Glance.       Such

      “Restoration Platform” understands “a standardized set of data for brokerage or deposit accounts.”

      See Joint White Paper. As implemented, compliant systems establish corresponding storage units

      (or storage trees) in the vault. See, e.g., PowerProtect User Guide at 52; see also Solution Guide

      at 25 (describing data trees). The aggregated select content can include data, such as binaries, boot

      images, and backup catalogs. See, e.g., Solution Guide at 25.

90.   As noted, the Sheltered Harbor standard requires, and is satisfied by, systems in which the plurality

      of designated categorical filters are activated in order to obtain (extract) select content for

      protective vaulting. Such filtering associates data processes, which include at least one of the

      following: (i) a copy process (which is linked to a copy data store); (ii) a data extract process

      (which is linked to an extract store); (iii) a data archive process (which is linked to an archive data

      store); (iv) a data distribution process (linked to a distribution security level for the select content);

      and/or (v) a data destruction process. Again, the Sheltered Harbor standard requires compliant

      enterprises to “back up critical customer account data each night in the Sheltered Harbor standard




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                   44
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 45 of 115 PageID #: 45




     format, either managing their own vault or using their service provider. The data vault [e.g.,

     corresponding data store] is encrypted, unchangeable, and completely separated from the

     institution’s infrastructure, including all backups.” See At-A-Glance. The Sheltered Harbor

     standard further requires enterprises to “designate a restoration platform so that if the Sheltered

     Harbor Resiliency Plan is activated, the platform can recover data from the vault to restore

     customer funds access as quickly as possible.” See At-A-Glance. In so doing, compliant

     enterprises associate certain data processes with certain select content in order to copy the data to

     the vault or other data store, extract the data to the vault or other data store, archive the data in

     accordance with Sheltered Harbor technical requirements, or apply distribution controls on the

     data in accordance with clearance policies. As implemented, enterprises establish policies which

     are applied by the compliant Sheltered Harbor system to manage data backup and vaulting. See

     Virtual Machine User Guide at 38 (explaining backup policy types and levels, including

     “synthetic-full” and “full” backup). Once a protection policy is established by the enterprise, all

     further data inputs processed under the filter are processed in the same way.             See, e.g.,

     PowerProtect User Guide at 52 (“When you create a protection policy, the PowerProtect Data

     Manager software creates a storage unit on the specified Data Domain backup host that is managed

     by PowerProtect Data Manager. All subsequent backups will go to this new storage unit. This

     implementation overrides the backup host and storage unit information that is provided in the script

     with the backup host and storage unit information that is provided by PowerProtect Data

     Manager”). The processing takes place automatically upon a designated time interval (e.g., nightly

     in accordance with Sheltered Harbor standard), upon a designated condition or event (e.g., upon

     the detection of new data), or otherwise manually. See, e.g., At-A-Glance (“back up critical

     customer account data each night in the Sheltered Harbor standard format”); see also Cobalt Iron




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             45
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 46 of 115 PageID #: 46




      White Paper (“Daily attestation messages provide assurance that all backups have been completed

      and successfully protected”); see also PowerProtect User Guide at 145 (“PowerProtect Data

      Manager automatically runs dynamic filters when new assets are detected or when existing assets

      are modified. You can also run dynamic filters on demand”).

91.   Among other things, the endorsed Dell PowerProtect Cyber Recovery solution complies with, and

      embodies, the Sheltered Harbor specifications. See Reference Architecture (claiming: “Sheltered

      Harbor endorsement for achieving compliance with financial institution data vaulting standards

      and certification, planning for operational resilience and recovery, and protecting financial critical

      data”).

92.   As an example of another system in development for certification as compliant with the Sheltered

      Harbor specifications is the Cobalt Iron and Compass for Sheltered Harbor system. Once

      developed, the system will be a SaaS platform deployable in either cloud, hybrid, or on-premises

      options. The Cobalt solution is advertised as being: (i) Secure (encrypted); (ii) Immutable

      (unchangeable, and not subject to deletion); (iii) Completely isolated from production and backup

      systems (air-gapped); (iv) Survivable and accessible after a complete system outage; and (v) Under

      constant role-based access permissions and controls. See Cobalt Iron White Paper.

93.   Sheltered Harbor compliance can be achieved by an enterprise in one of two ways: (i) use of

      Sheltered Harbor endorsed technology solution provider (e.g., Cobalt Iron, Dell, FTS, or Veritas)

      (see, e.g., shelteredharbor.org/index.php/about#howwe); or (ii) independent implementation of the

      standard (see, e.g., At-A-Glance (“Institutions back up critical customer account data each night

      in the Sheltered Harbor standard format, either managing their own vault or using their service

      provider”); see also Cobalt Iron White Paper (“You are responsible for implementing your own

      data vault technology and creating your own resiliency plan. However, it’s not easy or efficient




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               46
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 47 of 115 PageID #: 47




      to develop these solutions from scratch. As you prepare for certification, you don’t have to go at

      it alone. In fact, now that the financial industry has figured out how to respond to a catastrophic

      data event, Sheltered Harbor has formed key alliances to expedite your data vaulting progress”)).

      In either case, the enterprise itself makes and uses the compliant system, owns all data, and controls

      the data vault. See, e.g., Joint White Paper (Sheltered Harbor standard requires: “Data fully

      Owned, and vault Controlled by the financial institution”); see also Cobalt Iron White Paper (“The

      data vault always remains under your control”).

94.   Sheltered Harbor certification is the industry standard. As explained by Cobalt Iron: “Acquiring

      Sheltered Harbor Certification, as recognized by the regulators, is a critical next step financial

      services organizations (banks, brokerages, etc.) can take toward augmenting their business

      continuity plans and resilience.       Sheltered Harbor Certification signifies that you have

      implemented the robust set of industry prescribed safeguards and that the prescribed controls have

      been independently audited for compliance. This ensures public confidence in your institution and

      the financial system in the worst of scenarios, and that you have a lifeline for survival in an extreme

      cyber, data corruption or data deletion event.” See Cobalt Iron White Paper. Further, Sheltered

      Harbor certification, or its functional equivalent, is required by industry regulations. See, e.g.,

      Cobalt Iron White Paper (“Industry regulation requires that financial institutions prepare for a data

      destruction event. Participation in Sheltered Harbor demonstrates a proactive approach in planning

      both a mitigation strategy and a response to a destructive cyberevent. Because Sheltered Harbor

      started as a public-private partnership that was initiated by regulators, regulators have always been

      involved in vetting and supporting the solution”); see also American Bankers Association

      commentary entitled: Sheltered Harbor, available at: www.aba.com/banking-topics/technology/

      cybersecurity/sheltered-harbor (as visited October 20, 2023) (hereafter as “ABA Article”)




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                47
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 48 of 115 PageID #: 48




      (“Participating institutions already hold the majority of U.S. deposit accounts and brokerage client

      assets. To protect the entire industry, 100% participation is optimal,” and “We can best protect

      our customers, ourselves, and the entire U.S. financial system when every financial

      institution joins”).

                             THE ACCUSED INSTRUMENTALITIES

95.   Upon information and belief, COM makes, owns, operates, uses, or otherwise exercises control

      over systems and methods for processing data in a distributed system which are collectively

      compliant with the Sheltered Harbor specification. In the alternative, COM makes, owns, operates,

      uses, or otherwise exercises control over systems and methods for processing data in a distributed

      system which provide substantially equivalent functionality (i.e., providing data backup of critical

      customer account data to protect against system loss), in a substantially similar way (i.e., by using

      a plurality of content data stores with categorical filters as described and claimed in the

      DigitalDoors Patents), to achieve substantially the same results. On information and belief, such

      methods and systems are implemented by COM in the form of a plurality of interconnected storage

      systems, which are comprised of hardware (including servers) and software (including source

      code).   On information and belief, such hardware and software are made, used, installed,

      maintained, sold, offered for sale, and tested in the United States on the authority and under the

      direction or control of COM. On information and belief, such data archive systems are directly

      maintained by, and are accessible to, designated employees and/or representatives of COM.

      Collectively, the foregoing components operate as a single controlled apparatus to provide secure

      data vaulting for the benefit of COM, as specified by Sheltered Harbor or its operational

      equivalent. Collectively, all of the foregoing comprises the “Accused Instrumentalities.”




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              48
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 49 of 115 PageID #: 49




                                            COUNT I
                             Infringement of U.S. Patent No. 9,015,301

96.   Plaintiff incorporates the above paragraphs by reference.

97.   Upon information and belief, Defendant owns and/or controls the operation and/or utilization of

      the Accused Instrumentalities and generates substantial financial revenues therefrom, including

      but not limited to revenues attributable to business reputation and goodwill, and revenues derived

      from consumer confidence in the Defendant’s ability to protect against cyber threats and maintain

      operations regardless of external attack or internal system failure.

98.   Upon information and belief, Defendant has directly infringed and continues to directly infringe

      at least Claim 25 of the ‘301 Patent by making, using, importing, selling, and/or offering for sale

      the Accused Instrumentalities. The Accused Instrumentalities themselves are specially configured

      by Defendant to directly perform, and do in fact directly perform, all infringing steps.

99.   Upon information and belief, the Accused Instrumentalities comprise an apparatus which directly

      performs the claimed method of organizing and processing data in a distributed computing system

      having select content important to an enterprise operating said distributed computing system and

      represented by one or more predetermined words, characters, images, data elements or data

      objects.   More specifically, the Accused Instrumentalities comprise a network of servers,

      hardware, and software for processing data and vaulting such data in compliance with Sheltered

      Harbor specifications or its operational equivalent, as described herein above. The Defendant is

      the “enterprise operating the distributed computing system,” and Defendant itself makes and uses

      the system, owns all data, and controls the data vault. See, e.g., Joint White Paper (Sheltered

      Harbor standard requires: “Data fully Owned, and vault Controlled by the financial institution”);

      see also Cobalt Iron White Paper (“The data vault always remains under your control”). On




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                            49
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 50 of 115 PageID #: 50




       information and belief, such apparatus is installed and used in the United States, and such apparatus

       performs the infringing steps entirely within the United States.

100.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems which manage

       and protect data containing sensitive content in distributed computing systems.            See, e.g.,

       Operating Rules (the Sheltered Harbor objective of protecting critical account information is

       achieved by data vaulting); see also id, at Exhibit 1 thereof, as reproduced below (illustrating

       distributed network architecture):




       see also Reference Architecture (illustrating Sheltered Harbor compliant system and distributed

       architecture), as reproduced below:




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               50
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 51 of 115 PageID #: 51




101.   Further, and as noted above, the Sheltered Harbor standard requires, and is satisfied by, systems

       which manage and protect data containing sensitive content which is important to the operating

       enterprise; namely, customer financial account data. See, e.g., Operating Rules (“Sheltered Harbor

       is an industry-driven initiative launched in 2015 to promote the stability of the U.S. financial

       markets by protecting critical account information and data sets of market participants in order to

       facilitate the recovery and use of such information following a destructive cyberattack or other

       extreme loss of operational capability”); see also Operating Rules at Exhibit 1 thereof (stating the

       Processing Environment “Extracts critical account data in industry-standard format”); see also

       Solution Guide at 25 (“In addition to determining the objectives for the Cyber Recovery solution,

       you must characterize the data to be protected. The Cyber Recovery solution can protect any data

       that can be stored on a PowerProtect DD MTree. If Cyber Recovery is to protect an entire backup

       application and its backup data, the backup software must be able to store both its backup catalog

       (metadata) and backup data on one or more PowerProtect DD MTrees”).

102.   Still further, and as noted above, the Sheltered Harbor standard requires, and is satisfied by,

       systems in which the sensitive content to be protected is represented by predetermined words,



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              51
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 52 of 115 PageID #: 52




       characters, images, data elements, or objects. See, e.g., Operating Rules (“Sheltered Harbor is an

       industry-driven initiative launched in 2015 to promote the stability of the U.S. financial markets

       by protecting critical account information and data sets of market participants in order to facilitate

       the recovery and use of such information following a destructive cyberattack or other extreme loss

       of operational capability”); see also Solution Guide at 25 (“In addition to determining the

       objectives for the Cyber Recovery solution, you must characterize the data to be protected. The

       Cyber Recovery solution can protect any data that can be stored on a PowerProtect DD MTree. If

       Cyber Recovery is to protect an entire backup application and its backup data, the backup software

       must be able to store both its backup catalog (metadata) and backup data on one or more

       PowerProtect DD MTrees”) (and further identifying “Data, such as application binaries, boot

       images, and backup catalog, that must be protected”).

103.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the claimed method of organizing and processing

       data in a distributed computing system having select content important to an enterprise operating

       said distributed computing system and represented by one or more predetermined words,

       characters, images, data elements or data objects.

104.   The Accused Instrumentalities further comprise an apparatus which directly performs the step of

       providing, in said distributed computing system, a plurality of select content data stores operative

       with a plurality of designated categorical filters which stores are operatively coupled over a

       communications network. More specifically, and on information and belief, and as discussed

       herein above and below, the Accused Instrumentalities comprise a data vault with designated

       stores for designated select content, as derived from categorical filters.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                52
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 53 of 115 PageID #: 53




105.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems in which the

       sensitive content to be protected is stored in a plurality of select content data stores. The Sheltered

       Harbor standard requires a “data vault,” which is an “ultra secure environment where data can be

       safely stored.” See Joint White Paper. By way of example, and as implemented in compliant

       systems, the authorized solution from Dell includes a plurality of such data stores, as illustrated

       below (see Dell PowerProtect Solution Brief) (illustrating multiple data stores, including Backup,

       Copy, Lock, and Analyze):




       see also PowerProtect User Guide at 52 (stating “When you create a protection policy, the

       PowerProtect Data Manager software creates a storage unit on the specified Data Domain backup

       host that is managed by PowerProtect Data Manager. All subsequent backups will go to this new

       storage unit”).

106.   Further, and as noted above, the Sheltered Harbor standard requires, and is satisfied by, systems

       in which the data stores for the sensitive content are operative with a plurality of designated

       categorical filters. As noted, the Sheltered Harbor standard requires a “data vault,” which is an

       “ultra secure environment where data can be safely stored.” See Joint White Paper. Such data



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                 53
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 54 of 115 PageID #: 54




     vault is intended to house content derived from designated categorical filters, as established by the

     enterprise. As explained, the fundamental first step in the Sheltered Harbor process is to: “Identify

     the most critical business services that must be protected and resilient in the face of an ‘extreme

     but plausible event,’ and ultimately map these to the IT data and/or applications necessary to

     support them.” See Joint White Paper. Further, Sheltered Harbor requires the compliant enterprise

     to: “Protect the data and/or applications supporting the processes in a highly secure data vault,

     defining the requirements necessary for such a vault.” See Joint White Paper. Given the focus of

     Sheltered Harbor, the primary designated categorical filters relate to “two capabilities and essential

     services: providing customers continued access to their account balance information and cash.

     […] By narrowing the focus to this specific data set, Sheltered Harbor could avoid the complexity

     of having to also protect myriad applications and underlying technologies, enabling the creation

     of a common restoration platform … for those two critical business services.” See Joint White

     Paper. As a result, “[t]he Sheltered Harbor standards combine secure data vaulting of critical

     customer account information and a resiliency plan to provide customers timely access to their

     data and funds in a worst-case scenario.” See Joint White Paper. As a collective, Sheltered Harbor

     has thus “done the work of defining the critical business processes as well as the technical

     capabilities that are required for a quick restoration that is of mutual benefit to all participating

     institutions.” See Joint White Paper. This is accomplished by the extraction of critical account

     data, which is identified based upon predefined filters. See Operating Rules at Exhibit 1 thereof

     (Processing Environment: “Extracts critical account data in industry-standard format”); see also

     Safe Haven (explaining: “ When a financial institution joins Sheltered Harbor, critical financial

     information is extracted from accounts and converted into Sheltered Harbor’s industry-standard




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              54
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 55 of 115 PageID #: 55




       format”). As implemented, the enterprise establishes a “protection policy” (i.e., a set of filters)

       governing the data to be protected. See PowerProtect User Guide at 52.

107.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the step of providing, in said distributed computing

       system, a plurality of select content data stores operative with a plurality of designated categorical

       filters which stores are operatively coupled over a communications network.

108.   The Accused Instrumentalities further comprise an apparatus which directly performs the step of

       activating at least one of said designated categorical filters and processing a data input therethrough

       to obtain said select content and associated select content, which associated select content is at

       least one of contextually associated select content and taxonomically associated select content, as

       aggregated select content. More specifically, and on information and belief, and as discussed

       herein above and below, the Accused Instrumentalities comprise a system in which protection

       policies are implemented using aggregated tags.

109.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems in which the

       plurality of designated categorical filters are activated in order to obtain (extract) select content for

       protective vaulting. As noted, the Sheltered Harbor standard is premised on the extraction of

       critical financial account information, which is then converted into Sheltered Harbor’s industry-

       standard format. See, e.g., Operating Rules at Exhibit 1 thereof. As implemented, this includes

       the selection of protection policies by the enterprise, and the selection of conditions for each such

       policy. See Virtual Machine User Guide at 57. Protection rules are one exemplary embodiment

       of such categorical filters, which can be implemented in a variety of functionally equivalent ways

       to achieve the same result; namely, the filtering of data for inclusion in designated storage. By

       way of example, in the certified Dell PowerProtect system, “a rule with the filters VM Folder




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                   55
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 56 of 115 PageID #: 56




       Name, Contains, and Finance can match assets belonging to your finance department to the

       selected protection policy.” See Virtual Machine User Guide at 58. The use of such protection

       rules and attributes for filtering content is a type of categorical filter implementation. See Virtual

       Machine User Guide at 58-59 (detailing use of Protection Rule Attributes, Conditions, Criteria,

       and Filters (e.g., “contains,” “does not contain,” “does not equal,” “ends with,” “equals,” “matches

       RegEx,” and “does not match RegEx”)).

110.   Further, and as noted above, the Sheltered Harbor standard requires, and is satisfied by, systems

       in which critical financial account information is extracted and converted into Sheltered Harbor’s

       industry-standard format. See, e.g., Operating Rules at Exhibit 1 thereof. As implemented, the

       extracted information is either contextually or taxonomically associated. As explained by the

       inventors: “A simple classification system (hierarchical taxonomic system) can be established by

       reviewing the label descriptions on the structured data and then expanding class definitions with

       the use of the Knowledge Expander (KE) search engine. […] The hierarchical taxonomic system

       can be used to build contextual filters and taxonomic filters which can further protect Sec-Con

       data and expand the value and quantity of SC data.” See ’301 Patent at 10:22-32. In practice,

       Sheltered Harbor systems allow for the grouping of tags using metadata or any of a number of

       functionally equivalent means of achieving the same result; namely, the filtering of data for

       inclusion in designated storage. By way of example, in the certified Dell PowerProtect system,

       virtual machine tags are created in the “vSphere Client.” Such virtual tags enable the enterprise to

       attach metadata to virtual inventory assets, making them easier to sort and search. See Virtual

       Machine User Guide at 56. Tags are grouped within categories, which can further include specific

       object types. See Virtual Machine User Guide at 56-58 (describing tag creation and protection




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                56
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 57 of 115 PageID #: 57




       rules). The use of tag grouping, including by the use of metadata, is an implementation of

       contextually or taxonomically associated data.

111.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the step of activating at least one of said designated

       categorical filters and processing a data input therethrough to obtain said select content and

       associated select content, which associated select content is at least one of contextually associated

       select content and taxonomically associated select content, as aggregated select content.

112.   The Accused Instrumentalities further comprise an apparatus which directly performs the step of

       storing said aggregated select content for said at least one categorical filter in said corresponding

       select content data store. More specifically, and on information and belief, and as discussed herein

       above and below, the Accused Instrumentalities comprise a system in which the data storage vault

       stores select content for a designated set of account data, which includes binaries and backups.

113.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems in which the

       plurality of designated categorical filters are activated in order to obtain (extract) select content for

       protective vaulting. Such vaulting places aggregated select content into corresponding data stores.

       The Sheltered Harbor standard requires compliant enterprises to “back up critical customer

       account data each night in the Sheltered Harbor standard format, either managing their own vault

       or using their service provider. The data vault [e.g., corresponding data store] is encrypted,

       unchangeable, and completely separated from the institution’s infrastructure, including all

       backups.” See At-A-Glance. Compliant enterprises further “designate a restoration platform so

       that if the Sheltered Harbor Resiliency Plan is activated, the platform can recover data from the

       vault to restore customer funds access as quickly as possible.”             See At-A-Glance.       Such

       “Restoration Platform” understands “a standardized set of data for brokerage or deposit accounts.”




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                   57
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 58 of 115 PageID #: 58




       See Joint White Paper. As implemented, compliant systems establish corresponding storage units

       (or storage trees) in the vault. See, e.g., PowerProtect User Guide at 52; see also Solution Guide

       at 25 (describing data trees). The aggregated select content can include data, such as binaries, boot

       images, and backup catalogs. See, e.g., Solution Guide at 25.

114.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the step of storing said aggregated select content

       for said at least one categorical filter in said corresponding select content data store.

115.   The Accused Instrumentalities further comprise an apparatus which directly performs the step of,

       and for the activated categorical filter, associating at least one data process from the group of data

       processes including a copy process, a data extract process, a data archive process, a data

       distribution process and a data destruction process. More specifically, and on information and

       belief, and as discussed herein above and below, the Accused Instrumentalities comprise a system

       in which the data storage vault associates specific actions to specific data types such that the data

       is copied, archived, extracted, or distributed in accordance with the policies of the enterprise.

116.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems in which the

       plurality of designated categorical filters are activated in order to obtain (extract) select content for

       protective vaulting. Such filtering associates data processes, which include at least one of the

       following: (i) a copy process (which is linked to a copy data store); (ii) a data extract process

       (which is linked to an extract store); (iii) a data archive process (which is linked to an archive data

       store); (iv) a data distribution process (linked to a distribution security level for the select content);

       and/or (v) a data destruction process. Again, the Sheltered Harbor standard requires compliant

       enterprises to “back up critical customer account data each night in the Sheltered Harbor standard

       format, either managing their own vault or using their service provider. The data vault [e.g.,




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                    58
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 59 of 115 PageID #: 59




     corresponding data store] is encrypted, unchangeable, and completely separated from the

     institution’s infrastructure, including all backups.” See At-A-Glance. The Sheltered Harbor

     standard further requires enterprises to “designate a restoration platform so that if the Sheltered

     Harbor Resiliency Plan is activated, the platform can recover data from the vault to restore

     customer funds access as quickly as possible.” See At-A-Glance. In so doing, compliant

     enterprises associate certain data processes with certain select content in order to copy the data to

     the vault or other data store, extract the data to the vault or other data store, archive the data in

     accordance with Sheltered Harbor technical requirements, or apply distribution controls on the

     data in accordance with clearance policies. As implemented, enterprises establish policies which

     are applied by the compliant Sheltered Harbor system to manage data backup and vaulting. See

     Virtual Machine User Guide at 38 (explaining backup policy types and levels, including

     “synthetic-full” and “full” backup). Once a protection policy is established by the enterprise, all

     further data inputs processed under the filter are processed in the same way.             See, e.g.,

     PowerProtect User Guide at 52 (“When you create a protection policy, the PowerProtect Data

     Manager software creates a storage unit on the specified Data Domain backup host that is managed

     by PowerProtect Data Manager. All subsequent backups will go to this new storage unit. This

     implementation overrides the backup host and storage unit information that is provided in the script

     with the backup host and storage unit information that is provided by PowerProtect Data

     Manager”). The processing takes place automatically upon a designated time interval (e.g., nightly

     in accordance with Sheltered Harbor standard), upon a designated condition or event (e.g., upon

     the detection of new data), or otherwise manually. See, e.g., At-A-Glance (“back up critical

     customer account data each night in the Sheltered Harbor standard format”); see also Cobalt Iron

     White Paper (“Daily attestation messages provide assurance that all backups have been completed




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             59
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 60 of 115 PageID #: 60




       and successfully protected”); see also PowerProtect User Guide at 145 (“PowerProtect Data

       Manager automatically runs dynamic filters when new assets are detected or when existing assets

       are modified. You can also run dynamic filters on demand”).

117.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the step of, and for the activated categorical filter,

       associating at least one data process from the group of data processes including a copy process, a

       data extract process, a data archive process, a data distribution process and a data destruction

       process.

118.   The Accused Instrumentalities further comprise an apparatus which directly performs the step of

       applying the associated data process to a further data input based upon a result of said further data

       being processed by said activated categorical filter utilizing said aggregated select content data.

       More specifically, and on information and belief, and as discussed herein above and below, the

       Accused Instrumentalities comprise a system in which the data storage vault associates specific

       actions to specific data types such that the data is copied, archived, extracted, or distributed in

       accordance with the policies of the enterprise.

119.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems in which the

       plurality of designated categorical filters are activated in order to obtain (extract) select content for

       protective vaulting. Such filtering associates data processes, which include at least one of the

       following: (i) a copy process (which is linked to a copy data store); (ii) a data extract process

       (which is linked to an extract store); (iii) a data archive process (which is linked to an archive data

       store); (iv) a data distribution process (linked to a distribution security level for the select content);

       and/or (v) a data destruction process. Again, the Sheltered Harbor standard requires compliant

       enterprises to “back up critical customer account data each night in the Sheltered Harbor standard




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                    60
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 61 of 115 PageID #: 61




     format, either managing their own vault or using their service provider. The data vault [e.g.,

     corresponding data store] is encrypted, unchangeable, and completely separated from the

     institution’s infrastructure, including all backups.” See At-A-Glance. The Sheltered Harbor

     standard further requires enterprises to “designate a restoration platform so that if the Sheltered

     Harbor Resiliency Plan is activated, the platform can recover data from the vault to restore

     customer funds access as quickly as possible.” See At-A-Glance. In so doing, compliant

     enterprises associate certain data processes with certain select content in order to copy the data to

     the vault or other data store, extract the data to the vault or other data store, archive the data in

     accordance with Sheltered Harbor technical requirements, or apply distribution controls on the

     data in accordance with clearance policies. As implemented, enterprises establish policies which

     are applied by the compliant Sheltered Harbor system to manage data backup and vaulting. See

     Virtual Machine User Guide at 38 (explaining backup policy types and levels, including

     “synthetic-full” and “full” backup). Once a protection policy is established by the enterprise, all

     further data inputs processed under the filter are processed in the same way.             See, e.g.,

     PowerProtect User Guide at 52 (“When you create a protection policy, the PowerProtect Data

     Manager software creates a storage unit on the specified Data Domain backup host that is managed

     by PowerProtect Data Manager. All subsequent backups will go to this new storage unit. This

     implementation overrides the backup host and storage unit information that is provided in the script

     with the backup host and storage unit information that is provided by PowerProtect Data

     Manager”). The processing takes place automatically upon a designated time interval (e.g., nightly

     in accordance with Sheltered Harbor standard), upon a designated condition or event (e.g., upon

     the detection of new data), or otherwise manually. See, e.g., At-A-Glance (“back up critical

     customer account data each night in the Sheltered Harbor standard format”); see also Cobalt Iron




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             61
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 62 of 115 PageID #: 62




       White Paper (“Daily attestation messages provide assurance that all backups have been completed

       and successfully protected”); see also PowerProtect User Guide at 145 (“PowerProtect Data

       Manager automatically runs dynamic filters when new assets are detected or when existing assets

       are modified. You can also run dynamic filters on demand”).

120.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the step of applying the associated data process to

       a further data input based upon a result of said further data being processed by said activated

       categorical filter utilizing said aggregated select content data.

121.   The Accused Instrumentalities further comprise an apparatus which directly performs the step of

       activating a designated categorical filter, which encompasses an automatic activation or a manual

       activation and said automatic activation is time-based, distributed computer system condition-

       based, or event-based. More specifically, and on information and belief, and as discussed herein

       above and below, the Accused Instrumentalities comprise a system in which the data storage vault

       associates specific actions to specific data types such that the data is copied, archived, extracted,

       or distributed in accordance with the policies of the enterprise.

122.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems in which the

       plurality of designated categorical filters are activated in order to obtain (extract) select content for

       protective vaulting. Such filtering associates data processes, which include at least one of the

       following: (i) a copy process (which is linked to a copy data store); (ii) a data extract process

       (which is linked to an extract store); (iii) a data archive process (which is linked to an archive data

       store); (iv) a data distribution process (linked to a distribution security level for the select content);

       and/or (v) a data destruction process. Again, the Sheltered Harbor standard requires compliant

       enterprises to “back up critical customer account data each night in the Sheltered Harbor standard




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                    62
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 63 of 115 PageID #: 63




     format, either managing their own vault or using their service provider. The data vault [e.g.,

     corresponding data store] is encrypted, unchangeable, and completely separated from the

     institution’s infrastructure, including all backups.” See At-A-Glance. The Sheltered Harbor

     standard further requires enterprises to “designate a restoration platform so that if the Sheltered

     Harbor Resiliency Plan is activated, the platform can recover data from the vault to restore

     customer funds access as quickly as possible.” See At-A-Glance. In so doing, compliant

     enterprises associate certain data processes with certain select content in order to copy the data to

     the vault or other data store, extract the data to the vault or other data store, archive the data in

     accordance with Sheltered Harbor technical requirements, or apply distribution controls on the

     data in accordance with clearance policies. As implemented, enterprises establish policies which

     are applied by the compliant Sheltered Harbor system to manage data backup and vaulting. See

     Virtual Machine User Guide at 38 (explaining backup policy types and levels, including

     “synthetic-full” and “full” backup). Once a protection policy is established by the enterprise, all

     further data inputs processed under the filter are processed in the same way.             See, e.g.,

     PowerProtect User Guide at 52 (“When you create a protection policy, the PowerProtect Data

     Manager software creates a storage unit on the specified Data Domain backup host that is managed

     by PowerProtect Data Manager. All subsequent backups will go to this new storage unit. This

     implementation overrides the backup host and storage unit information that is provided in the script

     with the backup host and storage unit information that is provided by PowerProtect Data

     Manager”). The processing takes place automatically upon a designated time interval (e.g., nightly

     in accordance with Sheltered Harbor standard), upon a designated condition or event (e.g., upon

     the detection of new data), or otherwise manually. See, e.g., At-A-Glance (“back up critical

     customer account data each night in the Sheltered Harbor standard format”); see also Cobalt Iron




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             63
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 64 of 115 PageID #: 64




       White Paper (“Daily attestation messages provide assurance that all backups have been completed

       and successfully protected”); see also PowerProtect User Guide at 145 (“PowerProtect Data

       Manager automatically runs dynamic filters when new assets are detected or when existing assets

       are modified. You can also run dynamic filters on demand”).

123.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the step of activating a designated categorical filter,

       which encompasses an automatic activation or a manual activation and said automatic activation

       is time-based, distributed computer system condition-based, or event-based.

124.   The foregoing infringement on the part of Defendant has caused past and ongoing injury to

       Plaintiff. The amount of damages adequate to compensate for the infringement shall be determined

       at trial but is in no event less than a reasonable royalty from the date of first infringement to the

       expiration of the ‘301 Patent.

125.   To the extent Defendant continues, and has continued, its infringing activities noted above in an

       infringing manner post-notice of the ‘301 Patent, such infringement is necessarily willful and

       deliberate.

126.   Each of Defendant’s aforesaid activities have been without authority and/or license from Plaintiff.

                                            COUNT II
                              Infringement of U.S. Patent No. 9,734,169

127.   Plaintiff incorporates the above paragraphs by reference.

128.   Upon information and belief, Defendant owns and/or controls the operation and/or utilization of

       the Accused Instrumentalities and generates substantial financial revenues therefrom, including

       but not limited to revenues attributable to business reputation and goodwill, and revenues derived

       from consumer confidence in the Defendant’s ability to protect against cyber threats and maintain

       operations regardless of external attack or internal system failure.



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               64
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 65 of 115 PageID #: 65




129.   Upon information and belief, Defendant has directly infringed and continues to directly infringe

       at least Claim 1 of the ‘169 Patent by making, using, importing, selling, and/or offering for sale

       the Accused Instrumentalities. The Accused Instrumentalities themselves are specially configured

       by Defendant to directly perform, and do in fact directly perform, all infringing steps.

130.   Upon information and belief, the Accused Instrumentalities comprise an apparatus which directly

       performs the claimed method of organizing and processing data in a distributed cloud-based

       computing system having select content represented by one or more predetermined words,

       characters, images, data elements or data objects. More specifically, the Accused Instrumentalities

       comprise a cloud-based network of servers, hardware, and software for processing data and

       vaulting such data in compliance with Sheltered Harbor specifications or its operational equivalent,

       as described herein above. The Defendant is the “enterprise operating the distributed computing

       system,” and Defendant itself makes and uses the system, owns all data, and controls the data

       vault. See, e.g., Joint White Paper (Sheltered Harbor standard requires: “Data fully Owned, and

       vault Controlled by the financial institution”); see also Cobalt Iron White Paper (“The data vault

       always remains under your control”). On information and belief, such apparatus is installed and

       used in the United States, and such apparatus performs the infringing steps entirely within the

       United States.

131.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems which manage

       and protect data containing sensitive content in distributed computing systems.            See, e.g.,

       Operating Rules (the Sheltered Harbor objective of protecting critical account information is

       achieved by data vaulting); see also id, at Exhibit 1 thereof, as reproduced below (illustrating

       distributed network architecture):




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               65
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 66 of 115 PageID #: 66




       see also Reference Architecture (illustrating Sheltered Harbor compliant system and distributed

       architecture), as reproduced below:




132.   Still further, and on information and belief, such systems as implemented by Defendant are cloud-

       based. By way of example, the Accused Instrumentalities are optionally implemented on Amazon

       Web Services Cloud, Google Cloud, IBM Enterprise Cloud, Rackspace Cloud, Microsoft Cloud

       (Azure), DigitalOcean, Dell Cloud (Apex). or an alternative functional equivalent thereof. As



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                           66
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 67 of 115 PageID #: 67




       implemented in compliant systems, the authorized solution from Dell is designed and intended for

       deployment on any of Amazon Web Services, Microsoft Azure, and Google Cloud. See, e.g.,

       Solution Guide at 31; see also Cobalt Iron White Paper (describing cloud solution, and noting that

       its Compass Solution “enables enterprises to transform and optimize legacy backup solutions into

       a simple cloud-based architecture with built-in cybersecurity”).

133.   Further, and as noted above, the Sheltered Harbor standard requires, and is satisfied by, systems

       which manage and protect data containing sensitive content which is important to the operating

       enterprise; namely, customer financial account data. See, e.g., Operating Rules (“Sheltered Harbor

       is an industry-driven initiative launched in 2015 to promote the stability of the U.S. financial

       markets by protecting critical account information and data sets of market participants in order to

       facilitate the recovery and use of such information following a destructive cyberattack or other

       extreme loss of operational capability”); see also Operating Rules at Exhibit 1 thereof (stating the

       Processing Environment “Extracts critical account data in industry-standard format”); see also

       Solution Guide at 25 (“In addition to determining the objectives for the Cyber Recovery solution,

       you must characterize the data to be protected. The Cyber Recovery solution can protect any data

       that can be stored on a PowerProtect DD MTree. If Cyber Recovery is to protect an entire backup

       application and its backup data, the backup software must be able to store both its backup catalog

       (metadata) and backup data on one or more PowerProtect DD MTrees”).

134.   Still further, and as noted above, the Sheltered Harbor standard requires, and is satisfied by,

       systems in which the sensitive content to be protected is represented by predetermined words,

       characters, images, data elements, or objects. See, e.g., Operating Rules (“Sheltered Harbor is an

       industry-driven initiative launched in 2015 to promote the stability of the U.S. financial markets

       by protecting critical account information and data sets of market participants in order to facilitate




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                67
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 68 of 115 PageID #: 68




       the recovery and use of such information following a destructive cyberattack or other extreme loss

       of operational capability”); see also Solution Guide at 25 (“In addition to determining the

       objectives for the Cyber Recovery solution, you must characterize the data to be protected. The

       Cyber Recovery solution can protect any data that can be stored on a PowerProtect DD MTree. If

       Cyber Recovery is to protect an entire backup application and its backup data, the backup software

       must be able to store both its backup catalog (metadata) and backup data on one or more

       PowerProtect DD MTrees”) (and further identifying “Data, such as application binaries, boot

       images, and backup catalog, that must be protected”).

135.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the claimed method of organizing and processing

       data in a distributed cloud-based computing system having select content represented by one or

       more predetermined words, characters, images, data elements or data objects.

136.   The Accused Instrumentalities further comprise an apparatus which directly performs the step of

       providing in said distributed cloud-based computing system: (i) a plurality of select content data

       stores for respective ones of a plurality of security designated data; and (ii) a plurality of granular

       data stores; and (iii) a cloud-based server, each select content data store having respective access

       controls thereat. More specifically, and on information and belief, and as discussed herein above

       and below, the Accused Instrumentalities comprise a data vault with designated stores for

       designated select content, as derived from categorical filters.

137.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems in which the

       sensitive content to be protected is stored in a plurality of select content data stores. The Sheltered

       Harbor standard requires a “data vault,” which is an “ultra secure environment where data can be

       safely stored.” See Joint White Paper. By way of example, and as implemented in compliant




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                 68
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 69 of 115 PageID #: 69




       systems, the authorized solution from Dell includes a plurality of such data stores, as illustrated

       below (see Dell PowerProtect Solution Brief) (illustrating multiple data stores, including Backup,

       Copy, Lock, and Analyze):




       see also PowerProtect User Guide at 52 (stating “When you create a protection policy, the

       PowerProtect Data Manager software creates a storage unit on the specified Data Domain backup

       host that is managed by PowerProtect Data Manager. All subsequent backups will go to this new

       storage unit”).

138.   Further, and as noted above, the Sheltered Harbor standard requires, and is satisfied by, systems

       in which the data stores for the sensitive content are operative with a plurality of designated

       categorical filters. As noted, the Sheltered Harbor standard requires a “data vault,” which is an

       “ultra secure environment where data can be safely stored.” See Joint White Paper. Such data

       vault is intended to house content derived from designated categorical filters, as established by the

       enterprise. As explained, the fundamental first step in the Sheltered Harbor process is to: “Identify

       the most critical business services that must be protected and resilient in the face of an ‘extreme

       but plausible event,’ and ultimately map these to the IT data and/or applications necessary to



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               69
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 70 of 115 PageID #: 70




     support them.” See Joint White Paper. Further, Sheltered Harbor requires the compliant enterprise

     to: “Protect the data and/or applications supporting the processes in a highly secure data vault,

     defining the requirements necessary for such a vault.” See Joint White Paper. Given the focus of

     Sheltered Harbor, the primary designated categorical filters relate to “two capabilities and essential

     services: providing customers continued access to their account balance information and cash.

     […] By narrowing the focus to this specific data set, Sheltered Harbor could avoid the complexity

     of having to also protect myriad applications and underlying technologies, enabling the creation

     of a common restoration platform … for those two critical business services.” See Joint White

     Paper. As a result, “[t]he Sheltered Harbor standards combine secure data vaulting of critical

     customer account information and a resiliency plan to provide customers timely access to their

     data and funds in a worst-case scenario.” See Joint White Paper. As a collective, Sheltered Harbor

     has thus “done the work of defining the critical business processes as well as the technical

     capabilities that are required for a quick restoration that is of mutual benefit to all participating

     institutions.” See Joint White Paper. This is accomplished by the extraction of critical account

     data, which is identified based upon predefined filters. See Operating Rules at Exhibit 1 thereof

     (Processing Environment: “Extracts critical account data in industry-standard format”); see also

     Safe Haven (explaining: “ When a financial institution joins Sheltered Harbor, critical financial

     information is extracted from accounts and converted into Sheltered Harbor’s industry-standard

     format”). As implemented, the enterprise establishes a “protection policy” (i.e., a set of filters)

     governing the data to be protected. See PowerProtect User Guide at 52. Of course, each data store

     includes access controls, as implemented via security credentials and/or multi-factor

     authentication, or a functional equivalent. See, e.g., Solution Guide at 21-22 (describing data

     access protocols).




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              70
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 71 of 115 PageID #: 71




139.   Still further, the Sheltered Harbor standard requires, and is satisfied by, systems in which a

       plurality of granular data stores are implemented. The Sheltered Harbor standard requires a “data

       vault,” which is an “ultra secure environment where data can be safely stored.” See Joint White

       Paper. Additionally, the data vault is required by Sheltered Harbor as being “air-gapped,” or

       “isolated from production and backup systems.” See Joint White Paper. As implemented in

       compliant systems, the authorized solution from Dell is designed and intended for deployment in

       an ”air-gapped” architecture which is isolated from the production backup system (which itself

       serves as a plurality of granular data stores). See, e.g., Enterprise Strategy Group White Paper

       entitled: Protecting Critical Data from Cyber Threats Such as Ransomware with a Comprehensive

       Digital Vault Solution, available at: delltechnologies.com/asset/en-us/products/data-protection/

       industry-market/esg-cyber-recovery-tech-validation-report.pdf (as visited October 20, 2023)

       (hereafter as “Dell Digital Vault Solution”), at 7 (describing process of pulling data from backup

       storage on the production side); see also Dell PowerProtect Solution Brief (illustrating multiple

       granular data stores as “Backup Workloads”), as reproduced below:




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                            71
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 72 of 115 PageID #: 72




140.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the step of providing in said distributed cloud-

       based computing system: (i) a plurality of select content data stores for respective ones of a

       plurality of security designated data; and (ii) a plurality of granular data stores; and (iii) a cloud-

       based server, each select content data store having respective access controls thereat.

141.   The Accused Instrumentalities further comprise an apparatus which directly performs the step of

       providing a communications network operatively coupling said plurality of select content data

       stores and cloud-based server. More specifically, and on information and belief, and as discussed

       herein above and below, the Accused Instrumentalities comprise a distributed, cloud-based system

       which is configured to manage and protect data containing sensitive content. See, e.g., Operating

       Rules (the Sheltered Harbor objective of protecting critical account information is achieved by

       data vaulting); see also id, at Exhibit 1 thereof, as reproduced below (illustrating distributed

       network architecture):




       see also Reference Architecture (illustrating Sheltered Harbor compliant system and distributed

       architecture), as reproduced below:


ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                 72
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 73 of 115 PageID #: 73




142.   Still further, and on information and belief, such systems as implemented by Defendant are cloud-

       based (as discussed in detail above), and necessarily comprise an operatively coupled

       communications network. See, e.g., Dell Digital Vault Solution at 7 (describing network with

       dedicated interfaces); see also At-A-Glance (data vault is required to be “completely separated”

       from the infrastructure of the compliant enterprise; also describing the “restoration platform”); see

       also Joint White Paper (Sheltered Harbor requires data vault to be both “survivable” and

       “accessible”).

143.   The Accused Instrumentalities comprise an apparatus which directly performs the step of (with

       respect to data processed by said cloud-based system) extracting and storing said security

       designated data in respective select content data stores. More specifically, and on information and

       belief, and as discussed herein above and below, the Accused Instrumentalities comprise a system

       in which protection policies are implemented using aggregated tags.

144.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems in which the

       plurality of designated categorical filters are activated in order to obtain (extract) select content for

       protective vaulting. As noted, the Sheltered Harbor standard is premised on the extraction of



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                   73
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 74 of 115 PageID #: 74




       critical financial account information, which is then converted into Sheltered Harbor’s industry-

       standard format. See, e.g., Operating Rules at Exhibit 1 thereof. As implemented, this includes

       the selection of protection policies by the enterprise, and the selection of conditions for each such

       policy. See Virtual Machine User Guide at 57. Protection rules are one exemplary embodiment

       of such categorical filters, which can be implemented in a variety of functionally equivalent ways

       to achieve the same result; namely, the filtering of data for inclusion in designated storage. By

       way of example, in the certified Dell PowerProtect system, “a rule with the filters VM Folder

       Name, Contains, and Finance can match assets belonging to your finance department to the

       selected protection policy.” See Virtual Machine User Guide at 58. The use of such protection

       rules and attributes for filtering content is a type of categorical filter implementation. See Virtual

       Machine User Guide at 58-59 (detailing use of Protection Rule Attributes, Conditions, Criteria,

       and Filters (e.g., “contains,” “does not contain,” “does not equal,” “ends with,” “equals,” “matches

       RegEx,” and “does not match RegEx”)).

145.   Further, and as noted above, the Sheltered Harbor standard requires, and is satisfied by, systems

       in which critical financial account information is extracted and converted into Sheltered Harbor’s

       industry-standard format. See, e.g., Operating Rules at Exhibit 1 thereof. As implemented, the

       extracted information is either contextually or taxonomically associated. As explained by the

       inventors: “A simple classification system (hierarchical taxonomic system) can be established by

       reviewing the label descriptions on the structured data and then expanding class definitions with

       the use of the Knowledge Expander (KE) search engine. […] The hierarchical taxonomic system

       can be used to build contextual filters and taxonomic filters which can further protect Sec-Con

       data and expand the value and quantity of SC data.” See ’301 Patent at 10:22-32. In practice,

       Sheltered Harbor systems allow for the grouping of tags using metadata or any of a number of




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                74
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 75 of 115 PageID #: 75




       functionally equivalent means of achieving the same result; namely, the filtering of data for

       inclusion in designated storage. By way of example, in the certified Dell PowerProtect system,

       virtual machine tags are created in the “vSphere Client.” Such virtual tags enable the enterprise to

       attach metadata to virtual inventory assets, making them easier to sort and search. See Virtual

       Machine User Guide at 56. Tags are grouped within categories, which can further include specific

       object types. See Virtual Machine User Guide at 56-58 (describing tag creation and protection

       rules). The use of tag grouping, including by the use of metadata, is an implementation of

       contextually or taxonomically associated data.

146.   Further, and as noted above, the Sheltered Harbor standard requires, and is satisfied by, systems

       in which the plurality of designated categorical filters are activated in order to obtain (extract)

       select content for protective vaulting.    Such vaulting places aggregated select content into

       respective corresponding data stores.      The Sheltered Harbor standard requires compliant

       enterprises to “back up critical customer account data each night in the Sheltered Harbor standard

       format, either managing their own vault or using their service provider. The data vault [e.g.,

       corresponding data store] is encrypted, unchangeable, and completely separated from the

       institution’s infrastructure, including all backups.” See At-A-Glance. Compliant enterprises

       further “designate a restoration platform so that if the Sheltered Harbor Resiliency Plan is

       activated, the platform can recover data from the vault to restore customer funds access as quickly

       as possible.” See At-A-Glance. Such “Restoration Platform” understands “a standardized set of

       data for brokerage or deposit accounts.” See Joint White Paper. As implemented, compliant

       systems establish corresponding storage units (or storage trees) in the vault.           See, e.g.,

       PowerProtect User Guide at 52; see also Solution Guide at 25 (describing data trees). The




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              75
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 76 of 115 PageID #: 76




       aggregated select content can include data, such as binaries, boot images, and backup catalogs.

       See, e.g., Solution Guide at 25.

147.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the step of (with respect to data processed by said

       cloud-based system) extracting and storing said security designated data in respective select

       content data stores.

148.   The Accused Instrumentalities further comprise an apparatus which directly performs the step of

       activating at least one of said select content data stores in said cloud-based computing system

       thereby permitting access to said select content data stores and respective security designated data

       based upon an application of one or more of said access controls thereat. More specifically, and

       on information and belief, and as discussed herein above and below, the Accused Instrumentalities

       comprise a system in which the data storage vault is safeguarded by a number of security measures,

       including strict credential-controlled access.

149.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems in which select

       content is protected “in a highly secure data vault.” See, e.g., Joint White Paper (further describing

       the data vault as “an ultra-secure environment where data can be safely stored, which remains

       inaccessible but secure even while being updated”). Such security measures are implemented via

       data vault access controls, which include multi-factor authentication. See, e.g., Solution Guide at

       21-22 (describing “least-access-privilege concept” and two-factor authentication); see also Dell

       PowerProtect Cyber Recovery 19.12 Product Guide, available at: dl.dell.com/content/manual

       52605381-dell-powerprotect-cyber-recovery-19-12-product-guide.pdf?language=en-us&ps=true

       (as visited October 20, 2023) (hereafter as “Dell Product Guide”), at 24 (describing process of

       defining storage objects for each system running in the vault environment).




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                76
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 77 of 115 PageID #: 77




150.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the step of activating at least one of said select

       content data stores in said cloud-based computing system thereby permitting access to said select

       content data stores and respective security designated data based upon an application of one or

       more of said access controls thereat.

151.   The Accused Instrumentalities further comprise an apparatus which directly performs the step of

       parsing remainder data not extracted from data processed by said cloud-based system and storing

       the parsed data in respective granular data stores. More specifically, and on information and belief,

       and as discussed herein above and below, the Accused Instrumentalities comprise a system in

       which non-extracted data is stored on the production side (i.e., outside the data vault) in a plurality

       of data stores.

152.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems in which the

       plurality of designated categorical filters are activated in order to obtain (extract) select content for

       protective vaulting. Further, the Sheltered Harbor standard requires compliant enterprises to “back

       up critical customer account data each night in the Sheltered Harbor standard format, either

       managing their own vault or using their service provider.” See At-A-Glance. As implemented,

       remainder data is stored in a plurality of granular data stores, including production and backup

       systems. See Dell Digital Vault Solution at 7 (describing process of pulling data from backup

       storage on the production side); see also Dell PowerProtect Solution Brief (illustrating multiple

       granular data stores for non-extracted parsed data), as reproduced below:




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                   77
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 78 of 115 PageID #: 78




       see also Solution Guide at 26 (“In the production environment, backups of applications and their

       data, including image-level backups, are typically performed daily. Backups are made to one or

       more PowerProtect DD MTrees on the production PowerProtect DD system”).

153.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the step of parsing remainder data not extracted

       from data processed by said cloud-based system and storing the parsed data in respective granular

       data stores.

154.   The Accused Instrumentalities further comprise an apparatus which directly performs the step of

       (with respect to the aforementioned parsing and storing of remainder data) including both (i)

       randomly parsing and storing said remainder data, and (ii) parsing and storing said remainder data

       according to a predetermined algorithm based upon said security designated data and said select

       content data stores. More specifically, and on information and belief, and as discussed herein

       above and below, the Accused Instrumentalities comprise a system in which data encryption

       methodologies are implemented across the production environment and the data vault.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                            78
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 79 of 115 PageID #: 79




155.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems in which the

       plurality of designated categorical filters are activated in order to obtain (extract) select content for

       protective vaulting. Further, the Sheltered Harbor standard requires compliant enterprises to “back

       up critical customer account data each night in the Sheltered Harbor standard format, either

       managing their own vault or using their service provider.” See At-A-Glance. As implemented,

       traffic to and from the data vault is encrypted (randomly parsed), as is data in the production

       environment.

156.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the step of parsing remainder data not extracted

       from data processed by said cloud-based system and storing the parsed data in respective granular

       data stores.

157.   The Accused Instrumentalities further comprise an apparatus which directly performs the step of

       withdrawing some or all of said security designated data and said parsed data from said respective

       data stores only in the presence of said respective access controls applied thereto.               More

       specifically, and on information and belief, and as discussed herein above and below, the Accused

       Instrumentalities comprise a system in which strict access control measures are implemented to

       safeguard the data vault and allow for secure restoration.

158.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems in which the

       plurality of designated categorical filters are activated in order to obtain (extract) select content for

       protective vaulting. Further, the Sheltered Harbor standard requires compliant enterprises to “back

       up critical customer account data each night in the Sheltered Harbor standard format, either

       managing their own vault or using their service provider.” See At-A-Glance. Indeed, the very

       purpose of the Sheltered Harbor standard is to allow for the emergency restoration of critical select




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                   79
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 80 of 115 PageID #: 80




       content in the aftermath of a “Sheltered Harbor Event” (e.g., cyberattack). See At-A-Glance; see

       also Joint White Paper (Sheltered Harbor requires a “highly secure data vault” and planned

       recovery protocols; data vault must be “air-gapped” and strictly inaccessible to unauthorized bad

       actors; defining the “restoration platform”). As implemented, compliant systems create immutable

       copies of select content for secure storage in the data vault. Such data is able to be withdrawn

       from the data vault to the restoration platform only upon the satisfaction of strict security measures

       and access controls, including credentialed access and multi-factor authentication. See, e.g., Joint

       White Paper (further describing the data vault as “an ultra-secure environment where data can be

       safely stored, which remains inaccessible but secure even while being updated”); see also Solution

       Guide at 21-22 (describing “least-access-privilege concept” and two-factor authentication); see

       also id. at 28-29 (describing cleansing and re-imaging data from the data vault to the production

       environment and restoration platform); see also Dell Product Guide at 24 (describing process of

       defining storage objects for each system running in the vault environment).

159.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the step of withdrawing some or all of said security

       designated data and said parsed data from said respective data stores only in the presence of said

       respective access controls applied thereto.

160.   The foregoing infringement on the part of Defendant has caused past and ongoing injury to

       Plaintiff. The amount of damages adequate to compensate for the infringement shall be determined

       at trial but is in no event less than a reasonable royalty from the date of first infringement to the

       expiration of the ‘169 Patent.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                80
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 81 of 115 PageID #: 81




161.   To the extent Defendant continues, and has continued, its infringing activities noted above in an

       infringing manner post-notice of the ‘169 Patent, such infringement is necessarily willful and

       deliberate.

162.   Each of Defendant’s aforesaid activities have been without authority and/or license from Plaintiff.

                                             COUNT III
                              Infringement of U.S. Patent No. 10,182.073

163.   Plaintiff incorporates the above paragraphs by reference.

164.   Upon information and belief, Defendant owns and/or controls the operation and/or utilization of

       the Accused Instrumentalities and generates substantial financial revenues therefrom, including

       but not limited to revenues attributable to business reputation and goodwill, and revenues derived

       from consumer confidence in the Defendant’s ability to protect against cyber threats and maintain

       operations regardless of external attack or internal system failure.

165.   Upon information and belief, Defendant has directly infringed and continues to directly infringe

       at least Claim 1 of the ‘073 Patent by making, using, importing, selling, and/or offering for sale

       the Accused Instrumentalities. The Accused Instrumentalities themselves are specially configured

       by Defendant to directly perform, and do in fact directly perform, all infringing steps.

166.   Upon information and belief, the Accused Instrumentalities comprise an apparatus which directly

       performs the claimed method of creating an information infrastructure for processing data

       throughput in a distributed computing system with respective ones of a plurality of filters. More

       specifically, the Accused Instrumentalities comprise a network of servers, hardware, and software

       for processing data and vaulting such data in compliance with Sheltered Harbor specifications or

       its operational equivalent, as described herein above. The Defendant is the “enterprise operating

       the distributed computing system,” and Defendant itself makes and uses the system, owns all data,

       and controls the data vault. See, e.g., Joint White Paper (Sheltered Harbor standard requires: “Data



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              81
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 82 of 115 PageID #: 82




       fully Owned, and vault Controlled by the financial institution”); see also Cobalt Iron White Paper

       (“The data vault always remains under your control”). On information and belief, such apparatus

       is installed and used in the United States, and such apparatus performs the infringing steps entirely

       within the United States.

167.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems which manage

       and protect data containing sensitive content in distributed computing systems.            See, e.g.,

       Operating Rules (the Sheltered Harbor objective of protecting critical account information is

       achieved by data vaulting); see also id, at Exhibit 1 thereof, as reproduced below (illustrating

       distributed network architecture):




       see also Reference Architecture (illustrating Sheltered Harbor compliant system and distributed

       architecture), as reproduced below:




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               82
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 83 of 115 PageID #: 83




168.   Further, and as noted above, the Sheltered Harbor standard requires, and is satisfied by, systems

       which manage and protect data containing sensitive content which is important to the operating

       enterprise; namely, customer financial account data. See, e.g., Operating Rules (“Sheltered Harbor

       is an industry-driven initiative launched in 2015 to promote the stability of the U.S. financial

       markets by protecting critical account information and data sets of market participants in order to

       facilitate the recovery and use of such information following a destructive cyberattack or other

       extreme loss of operational capability”); see also Operating Rules at Exhibit 1 thereof (stating the

       Processing Environment “Extracts critical account data in industry-standard format”); see also

       Solution Guide at 25 (“In addition to determining the objectives for the Cyber Recovery solution,

       you must characterize the data to be protected. The Cyber Recovery solution can protect any data

       that can be stored on a PowerProtect DD MTree. If Cyber Recovery is to protect an entire backup

       application and its backup data, the backup software must be able to store both its backup catalog

       (metadata) and backup data on one or more PowerProtect DD MTrees”).

169.   As implemented in compliant systems, the Sheltered Harbor standard is satisfied by an information

       infrastructure for processing data throughput in the form of critical account information from the



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              83
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 84 of 115 PageID #: 84




       enterprise to the data vault. See, e.g., Dell Sheltered Harbor Solution Brief (“To comply with the

       Sheltered Harbor Specification, the Cyber Recovery vault architecture has been extended to

       perform the Archive Generation and Secure Repository processes. Extracted Sheltered Harbor

       data is saved in production, then securely replicated via a logical, air-gapped, dedicated connection

       to the vaulted environment where the remaining steps, such as retention locking, are performed”);

       see also id., illustrating the compliant information infrastructure as excerpted below:




170.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the claimed method of creating an information

       infrastructure for processing data throughput in a distributed computing system with respective

       ones of a plurality of filters.

171.   The Accused Instrumentalities further comprise an apparatus which directly performs the step of

       identifying sensitive content and select content in said data throughput with respective initially

       configured filters of said plurality of filters, said sensitive content represented by one or more

       sensitive words, characters, images, data elements or data objects therein grouped into a plurality

       of sensitivity levels, said select content represented by one or more predetermined words,

       characters, images, data elements or data objects. More specifically, and on information and belief,




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               84
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 85 of 115 PageID #: 85




       and as discussed herein above and below, the Accused Instrumentalities comprise a data vault with

       designated stores for designated select content, as derived from categorical filters.

172.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems in which the

       sensitive content to be protected is represented by predetermined words, characters, images, data

       elements, or objects. See, e.g., Operating Rules (“Sheltered Harbor is an industry-driven initiative

       launched in 2015 to promote the stability of the U.S. financial markets by protecting critical

       account information and data sets of market participants in order to facilitate the recovery and use

       of such information following a destructive cyberattack or other extreme loss of operational

       capability”); see also Solution Guide at 25 (“In addition to determining the objectives for the Cyber

       Recovery solution, you must characterize the data to be protected. The Cyber Recovery solution

       can protect any data that can be stored on a PowerProtect DD MTree. If Cyber Recovery is to

       protect an entire backup application and its backup data, the backup software must be able to store

       both its backup catalog (metadata) and backup data on one or more PowerProtect DD MTrees”)

       (and further identifying “Data, such as application binaries, boot images, and backup catalog,

       that must be protected”).

173.   Still further, the Sheltered Harbor standard is satisfied by systems in which a plurality of initially

       configured filters are used to identify the select content for filtering, extraction, and secure vault

       storage. Such systems use dynamic filters as configured by the operating enterprise in order to

       define the select content and the treatment thereof. As noted, the Sheltered Harbor standard

       requires a “data vault,” which is an “ultra secure environment where data can be safely stored.”

       See Joint White Paper. Such data vault is intended to house content derived from designated

       categorical filters, as established by the enterprise. As explained, the fundamental first step in the

       Sheltered Harbor process is to: “Identify the most critical business services that must be protected




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                85
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 86 of 115 PageID #: 86




     and resilient in the face of an ‘extreme but plausible event,’ and ultimately map these to the IT

     data and/or applications necessary to support them.” See Joint White Paper. Further, Sheltered

     Harbor requires the compliant enterprise to: “Protect the data and/or applications supporting the

     processes in a highly secure data vault, defining the requirements necessary for such a vault.” See

     Joint White Paper. Given the focus of Sheltered Harbor, the primary designated categorical filters

     relate to “two capabilities and essential services: providing customers continued access to their

     account balance information and cash. […] By narrowing the focus to this specific data set,

     Sheltered Harbor could avoid the complexity of having to also protect myriad applications and

     underlying technologies, enabling the creation of a common restoration platform … for those two

     critical business services.” See Joint White Paper. As a result, “[t]he Sheltered Harbor standards

     combine secure data vaulting of critical customer account information and a resiliency plan to

     provide customers timely access to their data and funds in a worst-case scenario.” See Joint White

     Paper. As a collective, Sheltered Harbor has thus “done the work of defining the critical business

     processes as well as the technical capabilities that are required for a quick restoration that is of

     mutual benefit to all participating institutions.” See Joint White Paper. This is accomplished by

     the extraction of critical account data, which is identified based upon predefined filters. See

     Operating Rules at Exhibit 1 thereof (Processing Environment: “Extracts critical account data in

     industry-standard format”); see also Safe Haven (explaining: “ When a financial institution joins

     Sheltered Harbor, critical financial information is extracted from accounts and converted into

     Sheltered Harbor’s industry-standard format”). As implemented, the enterprise establishes a

     “protection policy” (i.e., a set of filters) governing the data to be protected. See PowerProtect User

     Guide at 52.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              86
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 87 of 115 PageID #: 87




174.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the claimed step of identifying sensitive content

       and select content in said data throughput with respective initially configured filters of said

       plurality of filters, said sensitive content represented by one or more sensitive words, characters,

       images, data elements or data objects therein grouped into a plurality of sensitivity levels, said

       select content represented by one or more predetermined words, characters, images, data elements

       or data objects.

175.   The Accused Instrumentalities further comprise an apparatus which directly performs the step of

       providing in said distributed computing system a plurality of secure sensitive content data stores

       and a plurality of select content data stores for said respective initial filters. More specifically, and

       on information and belief, and as discussed herein above and below, the Accused Instrumentalities

       comprise a data vault with designated stores for designated select content, as derived from

       categorical filters.

176.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems in which the

       sensitive content to be protected is stored in a plurality of select content data stores. The Sheltered

       Harbor standard requires a “data vault,” which is an “ultra secure environment where data can be

       safely stored.” See Joint White Paper. By way of example, and as implemented in compliant

       systems, the authorized solution from Dell includes a plurality of such data stores, as illustrated

       below (see Dell PowerProtect Solution Brief) (illustrating multiple data stores, including Backup,

       Copy, Lock, and Analyze):




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                   87
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 88 of 115 PageID #: 88




       see also PowerProtect User Guide at 52 (stating “When you create a protection policy, the

       PowerProtect Data Manager software creates a storage unit on the specified Data Domain backup

       host that is managed by PowerProtect Data Manager. All subsequent backups will go to this new

       storage unit”); see also Dell Sheltered Harbor Solution Brief (illustrating the compliant

       information infrastructure, which includes a plurality of secure sensitive content data stores, as

       excerpted below:)




177.   Further, and as noted above, the Sheltered Harbor standard requires, and is satisfied by, systems

       in which the data stores for the sensitive content are operative with a plurality of designated



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                            88
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 89 of 115 PageID #: 89




     categorical filters. As noted, the Sheltered Harbor standard requires a “data vault,” which is an

     “ultra secure environment where data can be safely stored.” See Joint White Paper. Such data

     vault is intended to house content derived from designated categorical filters, as established by the

     enterprise. As explained, the fundamental first step in the Sheltered Harbor process is to: “Identify

     the most critical business services that must be protected and resilient in the face of an ‘extreme

     but plausible event,’ and ultimately map these to the IT data and/or applications necessary to

     support them.” See Joint White Paper. Further, Sheltered Harbor requires the compliant enterprise

     to: “Protect the data and/or applications supporting the processes in a highly secure data vault,

     defining the requirements necessary for such a vault.” See Joint White Paper. Given the focus of

     Sheltered Harbor, the primary designated categorical filters relate to “two capabilities and essential

     services: providing customers continued access to their account balance information and cash.

     […] By narrowing the focus to this specific data set, Sheltered Harbor could avoid the complexity

     of having to also protect myriad applications and underlying technologies, enabling the creation

     of a common restoration platform … for those two critical business services.” See Joint White

     Paper. As a result, “[t]he Sheltered Harbor standards combine secure data vaulting of critical

     customer account information and a resiliency plan to provide customers timely access to their

     data and funds in a worst-case scenario.” See Joint White Paper. As a collective, Sheltered Harbor

     has thus “done the work of defining the critical business processes as well as the technical

     capabilities that are required for a quick restoration that is of mutual benefit to all participating

     institutions.” See Joint White Paper. This is accomplished by the extraction of critical account

     data, which is identified based upon predefined filters. See Operating Rules at Exhibit 1 thereof

     (Processing Environment: “Extracts critical account data in industry-standard format”); see also

     Safe Haven (explaining: “ When a financial institution joins Sheltered Harbor, critical financial




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              89
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 90 of 115 PageID #: 90




       information is extracted from accounts and converted into Sheltered Harbor’s industry-standard

       format”). As implemented, the enterprise establishes a “protection policy” (i.e., a set of filters)

       governing the data to be protected. See PowerProtect User Guide at 52.

178.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the step of providing in said distributed computing

       system a plurality of secure sensitive content data stores and a plurality of select content data stores

       for said respective initial filters.

179.   The Accused Instrumentalities further comprise an apparatus which directly performs the step of

       operatively coupling said respective initially configured filters, over a communications network

       with said distributed computing system, said plurality of sensitive content data stores and said

       select content data stores. More specifically, and on information and belief, and as discussed

       herein above and below, the Accused Instrumentalities comprise a distributed computing system

       which is configured to manage and protect data containing sensitive content. See, e.g., Operating

       Rules (the Sheltered Harbor objective of protecting critical account information is achieved by

       data vaulting); see also id, at Exhibit 1 thereof, as reproduced below (illustrating distributed

       network architecture):




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                  90
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 91 of 115 PageID #: 91




     see also Reference Architecture (illustrating Sheltered Harbor compliant system and distributed

     architecture), as reproduced below:




     Such systems as implemented by Defendant necessarily comprise an operatively coupled

     communications network which couples the production and vaulting environments. See, e.g., Dell

     Digital Vault Solution at 7 (describing network with dedicated interfaces); see also At-A-Glance

     (data vault is required to be “completely separated” from the infrastructure of the compliant



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                        91
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 92 of 115 PageID #: 92




       enterprise; also describing the “restoration platform”); see also Joint White Paper (Sheltered

       Harbor requires data vault to be both “survivable” and “accessible”); see also Dell Sheltered

       Harbor Solution Brief (illustrating the compliant information infrastructure, which includes a

       communication network operatively coupling the production and data vault environments (via a

       “logical, air-gapped, dedicated connection”), as excerpted below:)




180.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the step of operatively coupling said respective

       initially configured filters, over a communications network with said distributed computing

       system, said plurality of sensitive content data stores and said select content data stores.

181.   The Accused Instrumentalities further comprise an apparatus which directly performs the step of

       altering said respective initially configured filters by: expanding one or both of said sensitive

       content and said select content in a designated filter, contracting or reducing one or both of said

       sensitive content and said select content in said designated filter, and imposing or removing a

       hierarchical or an orthogonal classification in said designated filter. More specifically, and on

       information and belief, and as discussed herein above and below, the Accused Instrumentalities

       comprise a system in which protection policies are implemented using aggregated tags, and such




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             92
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 93 of 115 PageID #: 93




       tags (and their respective policies) are enabled for modification (expansion and contraction) by the

       operating enterprise.

182.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems in which the

       plurality of designated categorical filters are activated in order to obtain (extract) select content for

       protective vaulting. As noted, the Sheltered Harbor standard is premised on the extraction of

       critical financial account information, which is then converted into Sheltered Harbor’s industry-

       standard format. See, e.g., Operating Rules at Exhibit 1 thereof. As implemented, this includes

       the process of defining policies relating to the identification and extraction of select content, and

       the ongoing evaluation and modification of such policies, by the compliant operating enterprise.

       By way of example, in the certified Dell PowerProtect system, “the Cyber Recovery User Interface

       [UI] is the primary tool for performing and monitoring Cyber Recovery operations. It is a web

       application that enables you to define, run, and monitor policies and policy outcomes.” See Dell

       Product Guide at 20. Further, the compliant system allows the operating enterprise to: “Create

       policies to perform replications, make point-in-time (PIT) copies, set retention locks, and perform

       other Cyber Recovery operations within the Cyber Recovery vault. You can also modify existing

       policies.”). See Dell Product Guide at 30. Policy modification provides for the expansion and

       reduction of existing parameters. See, e.g., Dell Instructional Video entitled: Reporting with

       PowerProtect Cyber Recovery, available at: youtube.com/watch?v=KTW5htQxyn0&t=85s (as

       visited October 20, 2023) (hereafter as “Dell Instructional Video”), at 1:24-1:50, as excerpted

       below:




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                   93
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 94 of 115 PageID #: 94




183.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the step of altering said respective initially

       configured filters by: expanding one or both of said sensitive content and said select content in a

       designated filter, contracting or reducing one or both of said sensitive content and said select

       content in said designated filter, and imposing or removing a hierarchical or an orthogonal

       classification in said designated filter.

184.   The Accused Instrumentalities further comprise an apparatus which directly performs the steps of

       generating modified configured filters based upon said alterations with said designated filter; and

       organizing further data throughput in said distributed computing system with said modified

       configured filters. More specifically, and on information and belief, and as discussed herein above

       and below, the Accused Instrumentalities comprise in which protection policies are implemented

       using aggregated tags, and such tags (and their respective policies) are enabled for modification

       (expansion and contraction) by the operating enterprise. Such modification is dynamic and the

       resulting parameters are thereafter implemented by the system.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             94
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 95 of 115 PageID #: 95




185.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems in which the

       plurality of designated categorical filters are activated in order to obtain (extract) select content for

       protective vaulting. As noted, the Sheltered Harbor standard is premised on the extraction of

       critical financial account information, which is then converted into Sheltered Harbor’s industry-

       standard format. See, e.g., Operating Rules at Exhibit 1 thereof. Again as noted above, as

       implemented, this includes the process of defining policies relating to the identification and

       extraction of select content, and the ongoing evaluation and modification of such policies, by the

       compliant operating enterprise. By way of example, in the certified Dell PowerProtect system,

       “the Cyber Recovery User Interface [UI] is the primary tool for performing and monitoring Cyber

       Recovery operations. It is a web application that enables you to define, run, and monitor policies

       and policy outcomes.” See Dell Product Guide at 20. Further, the compliant system allows the

       operating enterprise to: “Create policies to perform replications, make point-in-time (PIT) copies,

       set retention locks, and perform other Cyber Recovery operations within the Cyber Recovery vault.

       You can also modify existing policies.”). See Dell Product Guide at 30. Policy modification

       provides for the expansion and reduction of existing parameters, which dynamically generates

       modified configured filters and organizes further data throughput in accordance with the new

       configuration. See, e.g., Dell Instructional Video at 1:24-1:50, as excerpted below:




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                   95
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 96 of 115 PageID #: 96




186.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the steps of generating modified configured filters

       based upon said alterations with said designated filter; and organizing further data throughput in

       said distributed computing system with said modified configured filters.

187.   The foregoing infringement on the part of Defendant has caused past and ongoing injury to

       Plaintiff. The amount of damages adequate to compensate for the infringement shall be determined



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                            96
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 97 of 115 PageID #: 97




       at trial but is in no event less than a reasonable royalty from the date of first infringement to the

       expiration of the ‘073 Patent.

188.   To the extent Defendant continues, and has continued, its infringing activities noted above in an

       infringing manner post-notice of the ‘073 Patent, such infringement is necessarily willful and

       deliberate.

189.   Each of Defendant’s aforesaid activities have been without authority and/or license from Plaintiff.

                                             COUNT IV
                              Infringement of U.S. Patent No. 10,250,639

190.   Plaintiff incorporates the above paragraphs by reference.

191.   Upon information and belief, Defendant owns and/or controls the operation and/or utilization of

       the Accused Instrumentalities and generates substantial financial revenues therefrom, including

       but not limited to revenues attributable to business reputation and goodwill, and revenues derived

       from consumer confidence in the Defendant’s ability to protect against cyber threats and maintain

       operations regardless of external attack or internal system failure.

192.   Upon information and belief, Defendant has directly infringed and continues to directly infringe

       at least Claim 16 of the ‘639 Patent by making, using, importing, selling, and/or offering for sale

       the Accused Instrumentalities. The Accused Instrumentalities themselves are specially configured

       by Defendant to directly perform, and do in fact directly perform, all infringing steps.

193.   Upon information and belief, the Accused Instrumentalities comprise an apparatus which directly

       performs the claimed method of sanitizing data processed in a distributed computing system

       having sensitive content and select content, said sensitive content represented by one or more

       sensitive words, characters, images, data elements or data objects therein, said sensitive content

       having a plurality of sensitivity levels, each sensitivity level having an associated security

       clearance, said select content represented by one or more predetermined words, characters, images,



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               97
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 98 of 115 PageID #: 98




       data elements or data objects, said distributed computing system having a plurality of extract data

       stores for respective ones of said plurality of sensitivity levels and having a plurality of select

       content data stores, said plurality of extract data stores and said select content data stores

       operatively coupled over a communications network.              More specifically, the Accused

       Instrumentalities comprise a network of servers, hardware, and software for processing data and

       vaulting such data in compliance with Sheltered Harbor specifications or its operational equivalent,

       as described herein above. The Defendant is the “enterprise operating the distributed computing

       system,” and Defendant itself makes and uses the system, owns all data, and controls the data

       vault. See, e.g., Joint White Paper (Sheltered Harbor standard requires: “Data fully Owned, and

       vault Controlled by the financial institution”); see also Cobalt Iron White Paper (“The data vault

       always remains under your control”). On information and belief, such apparatus is installed and

       used in the United States, and such apparatus performs the infringing steps entirely within the

       United States.

194.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems which manage

       and protect data containing sensitive content in distributed computing systems.           See, e.g.,

       Operating Rules (the Sheltered Harbor objective of protecting critical account information is

       achieved by data vaulting); see also id, at Exhibit 1 thereof, as reproduced below (illustrating

       distributed network architecture):




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              98
 Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 99 of 115 PageID #: 99




       see also Reference Architecture (illustrating Sheltered Harbor compliant system and distributed

       architecture), as reproduced below:




195.   Further, and as noted above, the Sheltered Harbor standard requires, and is satisfied by, systems

       which manage and protect data containing sensitive content which is important to the operating

       enterprise; namely, customer financial account data. See, e.g., Operating Rules (“Sheltered Harbor

       is an industry-driven initiative launched in 2015 to promote the stability of the U.S. financial



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                            99
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 100 of 115 PageID #: 100




       markets by protecting critical account information and data sets of market participants in order to

       facilitate the recovery and use of such information following a destructive cyberattack or other

       extreme loss of operational capability”).

196.   Still further, and as noted above, the Sheltered Harbor standard requires, and is satisfied by,

       systems in which the sensitive content to be protected is represented by one or more sensitive

       words, characters, images, data elements or data objects therein. See, e.g., Operating Rules

       (“Sheltered Harbor is an industry-driven initiative launched in 2015 to promote the stability of the

       U.S. financial markets by protecting critical account information and data sets of market

       participants in order to facilitate the recovery and use of such information following a destructive

       cyberattack or other extreme loss of operational capability”); see also Solution Guide at 25 (“In

       addition to determining the objectives for the Cyber Recovery solution, you must characterize the

       data to be protected. The Cyber Recovery solution can protect any data that can be stored on a

       PowerProtect DD MTree. If Cyber Recovery is to protect an entire backup application and its

       backup data, the backup software must be able to store both its backup catalog (metadata) and

       backup data on one or more PowerProtect DD MTrees”) (and further identifying “Data, such as

       application binaries, boot images, and backup catalog, that must be protected”).

197.   Still further, the sensitive content to be protected is associated with multiple security levels and

       clearance requirements, as established by the Sheltered Harbor compliant enterprise. As noted

       above, the Sheltered Harbor standard requires, and is satisfied by, systems in which select content

       is protected “in a highly secure data vault.” See, e.g., Joint White Paper (further describing the

       data vault as “an ultra-secure environment where data can be safely stored, which remains

       inaccessible but secure even while being updated”).        As implemented, sensitive content is

       protected via priority filters. See, e.g., PowerProtect User Guide at 146 (“When multiple dynamic




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             100
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 101 of 115 PageID #: 101




       filters exist, you can define the priority of the dynamic filter. Priority determines which dynamic

       filter PowerProtect Data Manager applies for an asset if an asset matches multiple dynamic filters,

       and if the matching dynamic filters have conflicting actions. For example, if an asset protection

       policy assignment matches several dynamic filters and each dynamic filter specifies a different

       protection policy assignment, the protection policy is determined by the dynamic filter with the

       highest priority. An integer is used to represent the priority of the dynamic filter. The smaller

       value has the higher priority”). Again, and as noted above, Sheltered Harbor emphasizes secure

       vaulting and reconstruction, and vaulted data is accessible only via strict credential control. See,

       e.g., Dell PowerProtect Solution Brief (explaining: “An isolated data center environment that is

       disconnected from corporate and backup networks and restricted from users other than those with

       proper clearance”).

198.   Still further, and as noted above, the Sheltered Harbor standard requires, and is satisfied by,

       systems which manage and protect data containing sensitive content which is important to the

       operating enterprise; namely, customer financial account data. See, e.g., Operating Rules. Critical

       account data is extracted and converted into Sheltered Harbor’s standard format, and select content

       is represented by one or more predetermined words, characters, images, data elements or data

       objects. See Operating Rules at Exhibit 1 thereof (stating the Processing Environment “Extracts

       critical account data in industry-standard format”); see also Solution Guide at 25 (“In addition to

       determining the objectives for the Cyber Recovery solution, you must characterize the data to be

       protected. The Cyber Recovery solution can protect any data that can be stored on a PowerProtect

       DD MTree. If Cyber Recovery is to protect an entire backup application and its backup data, the

       backup software must be able to store both its backup catalog (metadata) and backup data on one




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             101
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 102 of 115 PageID #: 102




       or more PowerProtect DD MTrees”); see also Solution Guide at 25 (The aggregated select content

       can include data, such as binaries, boot images, and backup catalogs).

199.   Still further, and as noted above, the Sheltered Harbor standard requires, and is satisfied by,

       systems in which the sensitive select content to be protected is stored in a plurality of select content

       data stores. The Sheltered Harbor standard requires a “data vault,” which is an “ultra secure

       environment where data can be safely stored.” See Joint White Paper. By way of example, and

       as implemented in compliant systems, the authorized solution from Dell includes a plurality of

       such data stores, as illustrated below (see Dell PowerProtect Solution Brief) (illustrating multiple

       data stores, including Backup, Copy, Lock, and Analyze):




       see also PowerProtect User Guide at 52 (stating “When you create a protection policy, the

       PowerProtect Data Manager software creates a storage unit on the specified Data Domain backup

       host that is managed by PowerProtect Data Manager. All subsequent backups will go to this new

       storage unit”) see also Dell Sheltered Harbor Solution Brief (illustrating the compliant information

       infrastructure, which includes a communication network operatively coupling the production and

       data vault environments (via a “logical, air-gapped, dedicated connection”), as excerpted below:)



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                102
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 103 of 115 PageID #: 103




200.   Yet still further, and as noted above, Sheltered Harbor requires the compliant enterprise to:

       “Protect the data and/or applications supporting the processes in a highly secure data vault,

       defining the requirements necessary for such a vault.” See Joint White Paper. Given the focus of

       Sheltered Harbor, the primary designated categorical filters relate to “two capabilities and essential

       services: providing customers continued access to their account balance information and cash.

       […] By narrowing the focus to this specific data set, Sheltered Harbor could avoid the complexity

       of having to also protect myriad applications and underlying technologies, enabling the creation

       of a common restoration platform … for those two critical business services.” See Joint White

       Paper. As a result, “[t]he Sheltered Harbor standards combine secure data vaulting of critical

       customer account information and a resiliency plan to provide customers timely access to their

       data and funds in a worst-case scenario.” See Joint White Paper. As a collective, Sheltered Harbor

       has thus “done the work of defining the critical business processes as well as the technical

       capabilities that are required for a quick restoration that is of mutual benefit to all participating

       institutions.” See Joint White Paper. This is accomplished by the extraction of critical account

       data, which is identified based upon predefined filters. See Operating Rules at Exhibit 1 thereof

       (Processing Environment: “Extracts critical account data in industry-standard format”); see also

       Safe Haven (explaining: “ When a financial institution joins Sheltered Harbor, critical financial


ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               103
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 104 of 115 PageID #: 104




       information is extracted from accounts and converted into Sheltered Harbor’s industry-standard

       format”). As implemented, the enterprise establishes a “protection policy” (i.e., a set of filters)

       governing the data to be protected. See PowerProtect User Guide at 52. Of course, each data store

       includes access controls, as implemented via sensitivity levels using security credentials and/or

       multi-factor authentication, or a functional equivalent.        See, e.g., Solution Guide at 21-22

       (describing data access protocols).

201.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the claimed method of sanitizing data processed in

       a distributed computing system having sensitive content and select content, said sensitive content

       represented by one or more sensitive words, characters, images, data elements or data objects

       therein, said sensitive content having a plurality of sensitivity levels, each sensitivity level having

       an associated security clearance, said select content represented by one or more predetermined

       words, characters, images, data elements or data objects, said distributed computing system having

       a plurality of extract data stores for respective ones of said plurality of sensitivity levels and having

       a plurality of select content data stores, said plurality of extract data stores and said select content

       data stores operatively coupled over a communications network.

202.   The Accused Instrumentalities comprise an apparatus which directly performs the step of

       extracting said sensitive content from a data input to obtain extracted sensitive data for a

       corresponding sensitivity level and remainder data. More specifically, and on information and

       belief, and as discussed herein above and below, the Accused Instrumentalities comprise a system

       in which protection policies are implemented using aggregated tags.

203.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems in which the

       plurality of designated categorical filters are activated in order to obtain (extract) select content for




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                 104
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 105 of 115 PageID #: 105




       protective vaulting. As noted, the Sheltered Harbor standard is premised on the extraction of

       critical financial account information, which is then converted into Sheltered Harbor’s industry-

       standard format. See, e.g., Operating Rules at Exhibit 1 thereof; see also Dell Sheltered Harbor

       Solution Brief (illustrating the compliant information infrastructure, which includes data

       extraction in the production environment and secure storage in the data vault, as excerpted below:)




204.   Yet still further, and as implemented, this process includes the selection of protection policies by

       the enterprise, and the selection of conditions for each such policy. See Virtual Machine User

       Guide at 57. Protection rules are one exemplary embodiment of such categorical filters, which can

       be implemented in a variety of functionally equivalent ways to achieve the same result; namely,

       the filtering of data for inclusion in designated storage. By way of example, in the certified Dell

       PowerProtect system, “a rule with the filters VM Folder Name, Contains, and Finance can match

       assets belonging to your finance department to the selected protection policy.” See Virtual

       Machine User Guide at 58. The use of such protection rules and attributes for filtering content is

       a type of categorical filter implementation. See Virtual Machine User Guide at 58-59 (detailing

       use of Protection Rule Attributes, Conditions, Criteria, and Filters (e.g., “contains,” “does not

       contain,” “does not equal,” “ends with,” “equals,” “matches RegEx,” and “does not match

       RegEx”)).


ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             105
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 106 of 115 PageID #: 106




205.   Further, and as noted above, the Sheltered Harbor standard requires, and is satisfied by, systems

       in which critical financial account information is extracted and converted into Sheltered Harbor’s

       industry-standard format. See, e.g., Operating Rules at Exhibit 1 thereof. As implemented, the

       extracted information is either contextually or taxonomically associated. As explained by the

       inventors: “A simple classification system (hierarchical taxonomic system) can be established by

       reviewing the label descriptions on the structured data and then expanding class definitions with

       the use of the Knowledge Expander (KE) search engine. […] The hierarchical taxonomic system

       can be used to build contextual filters and taxonomic filters which can further protect Sec-Con

       data and expand the value and quantity of SC data.” See ’301 Patent at 10:22-32. In practice,

       Sheltered Harbor systems allow for the grouping of tags using metadata or any of a number of

       functionally equivalent means of achieving the same result; namely, the filtering of data for

       inclusion in designated storage. By way of example, in the certified Dell PowerProtect system,

       virtual machine tags are created in the “vSphere Client.” Such virtual tags enable the enterprise to

       attach metadata to virtual inventory assets, making them easier to sort and search. See Virtual

       Machine User Guide at 56. Tags are grouped within categories, which can further include specific

       object types. See Virtual Machine User Guide at 56-58 (describing tag creation and protection

       rules). The use of tag grouping, including by the use of metadata, is an implementation of

       contextually or taxonomically associated data.

206.   Further, and as noted above, the Sheltered Harbor standard requires, and is satisfied by, systems

       in which the plurality of designated categorical filters are activated in order to obtain (extract)

       select content for protective vaulting.    Such vaulting places aggregated select content into

       respective corresponding data stores.      The Sheltered Harbor standard requires compliant

       enterprises to “back up critical customer account data each night in the Sheltered Harbor standard




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             106
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 107 of 115 PageID #: 107




       format, either managing their own vault or using their service provider. The data vault [e.g.,

       corresponding data store] is encrypted, unchangeable, and completely separated from the

       institution’s infrastructure, including all backups.” See At-A-Glance. Compliant enterprises

       further “designate a restoration platform so that if the Sheltered Harbor Resiliency Plan is

       activated, the platform can recover data from the vault to restore customer funds access as quickly

       as possible.” See At-A-Glance. Such “Restoration Platform” understands “a standardized set of

       data for brokerage or deposit accounts.” See Joint White Paper. As implemented, compliant

       systems establish corresponding storage units (or storage trees) in the vault.                See, e.g.,

       PowerProtect User Guide at 52; see also Solution Guide at 25 (describing data trees). The

       aggregated select content can include data, such as binaries, boot images, and backup catalogs.

       See, e.g., Solution Guide at 25.

207.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the step of extracting said sensitive content from a

       data input to obtain extracted sensitive data for a corresponding sensitivity level and remainder

       data.

208.   The Accused Instrumentalities further comprise an apparatus which directly performs the step of

       storing said extracted sensitive data for said corresponding sensitivity level in a respective secure

       extract store in said distributed computer system. More specifically, and on information and belief,

       and as discussed herein above and below, the Accused Instrumentalities comprise a system in

       which the data storage vault stores select content for a designated set of account data, which

       includes binaries and backups.

209.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems in which the

       plurality of designated categorical filters are activated in order to obtain (extract) select content for




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                 107
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 108 of 115 PageID #: 108




       protective vaulting. Such vaulting places aggregated select content into corresponding data stores.

       The Sheltered Harbor standard requires compliant enterprises to “back up critical customer

       account data each night in the Sheltered Harbor standard format, either managing their own vault

       or using their service provider. The data vault [e.g., corresponding data store] is encrypted,

       unchangeable, and completely separated from the institution’s infrastructure, including all

       backups.” See At-A-Glance. Compliant enterprises further “designate a restoration platform so

       that if the Sheltered Harbor Resiliency Plan is activated, the platform can recover data from the

       vault to restore customer funds access as quickly as possible.”             See At-A-Glance.    Such

       “Restoration Platform” understands “a standardized set of data for brokerage or deposit accounts.”

       See Joint White Paper. As implemented, compliant systems establish corresponding storage units

       (or storage trees) in the vault. See, e.g., PowerProtect User Guide at 52; see also Solution Guide

       at 25 (describing data trees). The aggregated select content can include data, such as binaries, boot

       images, and backup catalogs. See, e.g., Solution Guide at 25.

210.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the step of storing said extracted sensitive data for

       said corresponding sensitivity level in a respective secure extract store in said distributed computer

       system.

211.   The Accused Instrumentalities further comprise an apparatus which directly performs the step of

       extracting said select content from either said data input or said remainder data and storing

       extracted select content in said select content data stores. More specifically, and on information

       and belief, and as discussed herein above and below, the Accused Instrumentalities comprise a

       system in which extracted select data is stored in the secure data vault, while non-extracted data is

       stored on the production side (i.e., outside the data vault) in a plurality of data stores.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               108
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 109 of 115 PageID #: 109




       As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems in which the

       plurality of designated categorical filters are activated in order to obtain (extract) select content for

       protective vaulting. See, e.g., Dell Sheltered Harbor Solution Brief (illustrating the compliant

       information infrastructure, which includes data extraction in the production environment and

       secure storage in the data vault, as excerpted below:)




212.   Further, the Sheltered Harbor standard requires compliant enterprises to “back up critical customer

       account data each night in the Sheltered Harbor standard format, either managing their own vault

       or using their service provider.” See At-A-Glance. As implemented, remainder data is stored in a

       plurality of granular data stores, including production and backup systems. See Dell Digital Vault

       Solution at 7 (describing process of pulling data from backup storage on the production side); see

       also Dell PowerProtect Solution Brief (illustrating multiple granular data stores for non-extracted

       parsed data), as reproduced below:




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                 109
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 110 of 115 PageID #: 110




       see also Solution Guide at 26 (“In the production environment, backups of applications and their

       data, including image-level backups, are typically performed daily. Backups are made to one or

       more PowerProtect DD MTrees on the production PowerProtect DD system”).

213.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the step of extracting said select content from either

       said data input or said remainder data and storing extracted select content in said select content

       data stores.

214.   The Accused Instrumentalities further comprise an apparatus which directly results in the creation

       of sanitized sensitive content data and select content data from the non-extracted data from said

       select content extraction and remainder data from said sensitive content extraction.               More

       specifically, and on information and belief, and as discussed herein above and below, the Accused

       Instrumentalities comprise a system in which sensitive account data is extracted for secure storage

       in a data vault, thereby creating sanitized storage versions of the data.

215.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems in which the

       plurality of designated categorical filters are activated in order to obtain (extract) select content for



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                 110
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 111 of 115 PageID #: 111




       protective vaulting. Further, the Sheltered Harbor standard requires compliant enterprises to “back

       up critical customer account data each night in the Sheltered Harbor standard format, either

       managing their own vault or using their service provider.” See At-A-Glance. This process results

       in the creation of sanitized sensitive content data and select content data from the non-extracted

       data from said select content extraction and remainder data from said sensitive content extraction.

       Indeed, the express purpose of the Sheltered Harbor standard is to “protect public confidence in

       the U.S. financial system if a devastating event like a cyberattack causes an institution’s critical

       systems – including backups – to fail.” See At-A-Glance (further stating that Sheltered Harbor

       was created “to promote the stability of U.S. financial markets by protecting critical account

       information of market participants in order to facilitate recovery of such information”).

216.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the step of parsing remainder data not extracted

       from data processed by said cloud-based system and storing the parsed data in respective granular

       data stores.

217.   The Accused Instrumentalities further comprise an apparatus which directly performs the step of

       inferencing said sanitized sensitive content data and select content data with (a) a content filter,

       (b) a contextual filter, and (c) a taxonomic filter; and obtaining an inferenced sensitive content data

       and an inferenced select content data therefrom. More specifically, and on information and belief,

       and as discussed herein above and below, the Accused Instrumentalities comprise a system in

       which filters are utilized for the inferencing of content.

218.   As noted above, the Sheltered Harbor standard requires, and is satisfied by, systems in which the

       plurality of designated categorical filters are activated in order to obtain (extract) select content for

       protective vaulting. As noted, the Sheltered Harbor standard is premised on the extraction of




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                 111
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 112 of 115 PageID #: 112




       critical financial account information, which is then converted into Sheltered Harbor’s industry-

       standard format. See, e.g., Operating Rules at Exhibit 1 thereof. As implemented, this includes

       the selection of protection policies by the enterprise, and the selection of conditions for each such

       policy. See Virtual Machine User Guide at 57. Protection rules are one exemplary embodiment

       of such categorical filters, which can be implemented in a variety of functionally equivalent ways

       to achieve the same result; namely, the filtering of data for inclusion in designated storage. By

       way of example, in the certified Dell PowerProtect system, “a rule with the filters VM Folder

       Name, Contains, and Finance can match assets belonging to your finance department to the

       selected protection policy.” See Virtual Machine User Guide at 58. The use of such protection

       rules and attributes for filtering content is a type of categorical filter implementation. See Virtual

       Machine User Guide at 58-59 (detailing use of Protection Rule Attributes, Conditions, Criteria,

       and Filters (e.g., “contains,” “does not contain,” “does not equal,” “ends with,” “equals,” “matches

       RegEx,” and “does not match RegEx”)).

219.   Further, and as noted above, the Sheltered Harbor standard requires, and is satisfied by, systems

       in which critical financial account information is extracted and converted into Sheltered Harbor’s

       industry-standard format. See, e.g., Operating Rules at Exhibit 1 thereof. As implemented, the

       extracted information is either contextually or taxonomically associated. As explained by the

       inventors: “A simple classification system (hierarchical taxonomic system) can be established by

       reviewing the label descriptions on the structured data and then expanding class definitions with

       the use of the Knowledge Expander (KE) search engine. […] The hierarchical taxonomic system

       can be used to build contextual filters and taxonomic filters which can further protect Sec-Con

       data and expand the value and quantity of SC data.” See ’301 Patent at 10:22-32. In practice,

       Sheltered Harbor systems allow for the grouping of tags using metadata or any of a number of




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               112
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 113 of 115 PageID #: 113




       functionally equivalent means of achieving the same result; namely, the filtering of data for

       inclusion in designated storage. By way of example, in the certified Dell PowerProtect system,

       virtual machine tags are created in the “vSphere Client.” Such virtual tags enable the enterprise to

       attach metadata to virtual inventory assets, making them easier to sort and search. See Virtual

       Machine User Guide at 56. Tags are grouped within categories, which can further include specific

       object types. See Virtual Machine User Guide at 56-58 (describing tag creation and protection

       rules). The use of tag grouping, including by the use of metadata, is an implementation of

       contextually or taxonomically associated data.

220.   Still further, and as noted above, Sheltered Harbor compliant systems analyze (inference) content

       with such contextual and taxonomic filters in order to obtain the inferenced sensitive and select

       content. As implemented, for example, in the compliant Dell PowerProtect system, content scans

       are performed. See, e.g., Dell Technical White Paper entitled: Zero-Trust, A Key Framework in

       Dell Technologies’ Overall Data Protection Strategy, available at: www.delltechnologies.com

       /asset/en-us/products/security/industry-market/zero-trust-whitepaper.pdf (as visited October 20,

       2023) (hereafter as “Zero-Trust”), at 7-9 (explaining data analytics and full replication in the data

       vault).

221.   In view of the foregoing, and on information and belief, the Accused Instrumentalities thus

       comprise an apparatus which directly performs the step of inferencing said sanitized sensitive

       content data and select content data with (a) a content filter, (b) a contextual filter, and (c) a

       taxonomic filter; and obtaining an inferenced sensitive content data and an inferenced select

       content data therefrom.

222.   The foregoing infringement on the part of Defendant has caused past and ongoing injury to

       Plaintiff. The amount of damages adequate to compensate for the infringement shall be determined




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              113
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 114 of 115 PageID #: 114




       at trial but is in no event less than a reasonable royalty from the date of first infringement to the

       expiration of the ‘639 Patent.

223.   To the extent Defendant continues, and has continued, its infringing activities noted above in an

       infringing manner post-notice of the ‘639 Patent, such infringement is necessarily willful and

       deliberate.

224.   Each of Defendant’s aforesaid activities have been without authority and/or license from Plaintiff.

                                               COUNT V
                                         Knowledge and Willfulness

225.   Plaintiff incorporates the above paragraphs by reference.

226.   Defendant has been on actual notice of the DigitalDoors Patents since at least as early as the date

       it received service of this Original Complaint.

227.   On information and belief, Defendant has a policy or practice of not reviewing the patents of

       others. Further on information and belief, Defendant instructs its employees to not review the

       patents of others for clearance or to assess infringement thereof. As such, Defendant has been

       willfully blind to the patent rights of Plaintiff.

                                          PRAYER FOR RELIEF

       WHEREFORE, DigitalDoors, Inc. respectfully requests the Court enter judgment against

Defendant as follows:

       1.      Declaring that Defendant has infringed the Asserted Patent(s);

       2.      Awarding DigitalDoors, Inc. its damages suffered because of Defendant’s infringement of

               the Asserted Patent(s);

       3.      Awarding DigitalDoors, Inc. its costs, reasonable attorneys’ fees, expenses, and interest;

       4.      Granting a permanent injunction pursuant to 35 U.S.C. § 283, enjoining Defendants from

               further acts of infringement with respect to the Asserted Patent(s);



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              114
Case 2:23-cv-00541-JRG-RSP Document 1 Filed 11/21/23 Page 115 of 115 PageID #: 115




      5.     Awarding DigitalDoors, Inc. ongoing post-trial royalties for infringement of the non-

             expired Asserted Patent(s); and

      6.     Granting DigitalDoors, Inc. such further relief as the Court finds appropriate.

                                          JURY DEMAND

      Plaintiff DigitalDoors, Inc. respectfully demands trial by jury, under Fed. R. Civ. P. 38.




 Dated: November 21, 2023                           Respectfully Submitted

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                                                    ATTORNEYS FOR PLAINTIFF
                                                    DIGITALDOORS, INC.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                         115
